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                  IN THE UNITED STATES BANKRUPTCY COURT
                   FOR THE NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION

IN RE:                                       )      CHAPTER 11
                                             )
P-D VALMIERA GLASS USA CORP.,                )      CASE NO. 19-59440-pwb
                                             )
                                             )
                    Debtor.                  )

  __________________________________________________________________________

                           DISCLOSURE STATEMENT
                    TO ACCOMPANY PLAN OF LIQUIDATION
  ___________________________________________________________________________


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Dated: September 10, 2020
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                                         ARTICLE I
                                       INTRODUCTION

        This Disclosure Statement (the “Disclosure Statement”) is filed in accordance with
Section 1125 of Title 11, United States Code (as amended and supplemented, the “Bankruptcy
Code”), by P-D Valmiera Glass USA Corp. (the “Debtor”), debtor and debtor-in-possession in
the above-styled, Chapter 11 case (the “Case”), to provide information to all known creditors and
equity interest holders about the Plan of Liquidation filed on September 10, 2020 (as it may be
amended from time to time, the “Plan,” a copy of which is attached hereto as Exhibit 1. The
purpose of the Disclosure Statement is to provide information of a kind and in detail sufficient to
enable Creditors and Interest Holders in certain impaired Classes to make an informed judgment
regarding whether to accept or reject the Plan and to inform Holders of Claims and Interests in the
unimpaired Classes of their treatment under the Plan. The information contained in this Disclosure
Statement is provided by the Debtor. The Debtor urges parties in interest to read this Disclosure
Statement and the Plan carefully prior to casting votes for or against the Plan.

       Unless otherwise defined herein, capitalized terms used herein shall have the same meaning
ascribed to them in the Plan.

   1.1    Disclaimer

     ALL CREDITORS AND INTEREST HOLDERS ARE ADVISED AND
ENCOURAGED TO READ THIS DISCLOSURE STATEMENT AND THE PLAN IN
THEIR ENTIRETY BEFORE VOTING TO ACCEPT OR REJECT THE PLAN. PLAN
SUMMARIES AND STATEMENTS MADE IN THIS DISCLOSURE STATEMENT ARE
QUALIFIED IN THEIR ENTIRETY BY REFERENCE TO THE PLAN, THE EXHIBITS
AND THE DISCLOSURE STATEMENT AS A WHOLE.

     THIS DISCLOSURE STATEMENT CONTAINS SUMMARIES OF CERTAIN
PROVISIONS OF THE PLAN, STATUTORY PROVISIONS, DOCUMENTS RELATED
TO THE PLAN, EVENTS IN THE DEBTOR’S CHAPTER 11 CASE, AND FINANCIAL
INFORMATION. ALTHOUGH THE DEBTOR BELIEVES THAT THE PLAN AND
RELATED DOCUMENT SUMMARIES ARE FAIR AND ACCURATE, SUCH
SUMMARIES ARE QUALIFIED TO THE EXTENT THAT THEY DO NOT SET FORTH
THE ENTIRE TEXT OF SUCH DOCUMENTS OR STATUTORY PROVISIONS.
FACTUAL INFORMATION CONTAINED IN THIS DISCLOSURE STATEMENT HAS
BEEN PROVIDED BY THE DEBTOR’S MANAGEMENT, EXCEPT WHERE
OTHERWISE SPECIFICALLY NOTED. FOR THE FOREGOING REASONS, AS WELL
AS THE COMPLEXITY OF THE DEBTOR’S FINANCIAL MATTERS, THE DEBTOR
IS UNABLE TO WARRANT OR REPRESENT THAT THE INFORMATION
CONTAINED HEREIN, INCLUDING THE FINANCIAL INFORMATION, IS WITHOUT
ANY INACCURACY OR OMISSION. THE FINANCIAL DATA SET FORTH HEREIN,
EXCEPT AS OTHERWISE SPECIFICALLY NOTED, HAS NOT BEEN SUBJECTED TO
AN INDEPENDENT AUDIT. THE STATEMENTS CONTAINED IN THIS DISCLOSURE
STATEMENT ARE MADE ONLY AS OF THE DATE HEREOF. NO ASSURANCES
EXIST THAT THE STATEMENTS CONTAINED HEREIN WILL BE CORRECT AT
ANY TIME HEREAFTER.

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     THE INFORMATION CONTAINED IN THIS DISCLOSURE STATEMENT IS
INCLUDED HEREIN FOR PURPOSES OF SOLICITING ACCEPTANCES OF THE
PLAN, AND MAY NOT BE RELIED UPON FOR ANY PURPOSE OTHER THAN TO
DETERMINE HOW TO VOTE ON THE PLAN.          NO REPRESENTATIONS
CONCERNING THE DEBTOR ARE AUTHORIZED BY THE DEBTOR OTHER THAN
AS SET FORTH IN THIS DISCLOSURE STATEMENT.          ANY OTHER
REPRESENTATIONS OR INDUCEMENTS MADE TO SOLICIT YOUR ACCEPTANCE
THAT ARE NOT CONTAINED IN THIS DISCLOSURE STATEMENT SHOULD NOT
BE RELIED UPON BY YOU IN ARRIVING AT YOUR DECISION TO ACCEPT OR
REJECT THE PLAN. FURTHERMORE, SUCH OTHER REPRESENTATIONS OR
INDUCEMENTS SHOULD BE IMMEDIATELY REPORTED TO COUNSEL FOR THE
DEBTOR. COUNSEL FOR THE DEBTOR MAY, IN TURN, COMMUNICATE SUCH
INFORMATION TO THE BANKRUPTCY COURT FOR APPROPRIATE ACTION.

     WITH RESPECT TO ADVERSARY PROCEEDINGS, CONTESTED MATTERS,
OR OTHER ACTIONS OR THREATENED ACTIONS, THIS DISCLOSURE
STATEMENT SHALL NOT CONSTITUTE, OR BE CONSTRUED AS, AN ADMISSION
OF ANY FACT OR LIABILITY, STIPULATION, OR WAIVER. INSTEAD, THIS
DISCLOSURE STATEMENT SHALL CONSTITUTE STATEMENTS MADE IN
CONNECTION WITH SETTLEMENT NEGOTIATIONS.

     THIS DISCLOSURE STATEMENT SHALL NOT BE ADMISSIBLE IN ANY
NONBANKRUPTCY PROCEEDING INVOLVING THE DEBTOR OR ANY OTHER
PARTY. FURTHERMORE, THIS DISCLOSURE STATEMENT SHALL NOT BE
CONSTRUED TO BE CONCLUSIVE ADVICE ON THE LEGAL EFFECTS,
INCLUDING, BUT NOT LIMITED TO, THE TAX EFFECTS, OF THE PROPOSED
PLAN. YOU SHOULD CONSULT YOUR LEGAL OR TAX ADVISOR ON ANY
QUESTIONS OR CONCERNS REGARDING THE TAX OR OTHER LEGAL
CONSEQUENCES OF THE PLAN.

     MUCH OF THE INFORMATION CONTAINED HEREIN HAS NOT BEEN
AUDITED AND WAS DERIVED FROM THE DEBTOR’S BOOKS AND RECORDS,
WHICH ARE DEPENDENT UPON INTERNAL ACCOUNTING METHODS. AS A
RESULT, VALUATIONS OF ASSETS AND CLAIM LIABILITIES ARE ESTIMATED.
ALTHOUGH SUBSTANTIAL EFFORT HAS BEEN MADE TO BE COMPLETE AND
ACCURATE, THE DEBTOR IS UNABLE TO WARRANT OR REPRESENT THE FULL
AND COMPLETE ACCURACY OF THE INFORMATION CONTAINED HEREIN.

     THIS DISCLOSURE STATEMENT HAS NOT BEEN APPROVED OR
DISAPPROVED BY THE U.S. SECURITIES AND EXCHANGE COMMISSION NOR
HAS THE COMMISSION PASSED UPON THE ACCURACY OR ADEQUACY OF THE
STATEMENTS CONTAINED HEREIN.

   1.2    Disclosure Statement

        This Disclosure Statement sets forth certain information regarding the Debtor’s pre-
petition activity. This Disclosure Statement also describes the Plan, alternatives to the Plan, effects

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of confirmation of the Plan, and the manner in which distributions will be made under the Plan.
In addition, the Disclosure Statement discusses the confirmation process and voting procedures
that Holders of Claims in impaired Classes must follow for their votes to be counted.

     WHEN AND IF CONFIRMED BY THE BANKRUPTCY COURT, THE PLAN
WILL BIND THE DEBTOR AND ALL HOLDERS OF CLAIMS AGAINST, AND
INTERESTS IN, THE DEBTOR, WHETHER OR NOT THEY ARE ENTITLED TO VOTE
OR DID VOTE ON THE PLAN AND WHETHER OR NOT THEY RECEIVE OR RETAIN
ANY DISTRIBUTIONS OR PROPERTY UNDER THE PLAN. THUS, ALL CLAIMANTS
AND INTEREST HOLDERS ARE ENCOURAGED TO READ THIS DISCLOSURE
STATEMENT CAREFULLY. IN PARTICULAR, HOLDERS OF IMPAIRED CLAIMS
WHO ARE ENTITLED TO VOTE ON THE PLAN ARE ENCOURAGED TO READ THIS
DISCLOSURE STATEMENT, THE PLAN, AND ANY EXHIBITS TO THE PLAN OR
DISCLOSURE STATEMENT, CAREFULLY AND IN THEIR ENTIRETY BEFORE
VOTING TO ACCEPT OR REJECT THE PLAN.

   1.3    Summary of Distributions Under the Plan

       The chart below summarizes the treatment, timing and percentage distributions to each
Class under the Plan. For a further discussion, see Article IV below.

  Class    Claim/Interest     Treatment of                     Estimated Amount      Voting
  No.                         Claim/Interest                   and Projected         Rights
                                                               Recovery
  N/A      Administrative     Except as otherwise              Estimated Amount:     Unimpaired
           Expense Claims     provided in the Plan, each       $1,606,247.97         and not
                              holder of an Allowed                                   entitled to
                              Administrative Expense           Estimated Recovery:   vote
                              Claim will be paid in full       100% of Allowed
                              and in Cash from the Plan        Amount
                              Funding Reserve, without
                              interest, on or as soon as
                              practicable after the later of
                              (a) thirty (30) days
                              following the Final
                              Administrative Expense
                              Claim Bar Date; (b) ten
                              (10) business days
                              following the date of entry
                              of a Final Order allowing
                              the Claim; or (c) as the
                              holder may otherwise
                              agree.
  N/A      Priority Tax       Each holder of an Allowed        Estimated Amount:     Unimpaired
           Claims             Priority Tax Claim, will be      $417,308.70           and not
                              paid in Cash in full from

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  Class   Claim/Interest   Treatment of                     Estimated Amount      Voting
  No.                      Claim/Interest                   and Projected         Rights
                                                            Recovery
                           the Plan Funding Reserve         Estimated Recovery:   entitled to
                           on the Effective Date or as      100% of Allowed       vote
                           soon thereafter as is            Amount
                           reasonably practicable, but
                           in no event later than the
                           end of five (5) years from
                           the Petition Date through
                           regular quarterly
                           installments in Cash
                           through and including the
                           date such Allowed Priority
                           Tax Claim is paid in full.
                           If paid over time, the
                           Holder shall receive
                           interest at the Section 6621
                           Interest Rate (or the
                           applicable statutory rate
                           under state law).
  1       Other Priority   Each holder of an Allowed        Estimated Amount:     Unimpaired
          Claims           Priority Claim, will be paid     $ 0.00                and not
                           in full and in Cash, without                           entitled to
                           interest, on or as soon as       Estimated Recovery:   vote
                           practicable after the later of   100% of Allowed
                           (a) the Effective Date, or       Amount
                           (b) the date after such
                           Claim is Allowed; or (c) as
                           the holder may otherwise
                           agree.

  2       Other Secured    Each Allowed Secured             Estimated Amount:     Unimpaired
          Claims           Claim in Class 2 shall be        $ 0.00                and not
                           satisfied, at the Debtor’s                             entitled to
                                                            Estimated Recovery:
                           option, as follows (i) by the                          vote
                                                            100% of Allowed
                           transfer, assignment and         Secured Claim
                           conveyance by the Debtor
                           of the collateral securing
                           such Class 2 Claim to the
                           Holder of such Allowed
                           Secured Claim in full and
                           final satisfaction of such
                           Allowed Secured Claim,
                           (ii) by the sale of the
                           collateral securing such
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  Class   Claim/Interest    Treatment of                     Estimated Amount      Voting
  No.                       Claim/Interest                   and Projected         Rights
                                                             Recovery
                            Allowed Secured Claim,
                            following Designated
                            Notice, and the payment by
                            the Debtor to the Holder of
                            such Allowed Secured
                            Claim the net sale proceeds
                            in an amount equal to the
                            value of such Holder’s
                            interest in the collateral in
                            full and final satisfaction of
                            such Allowed Secured
                            Claim, or (iii) by payment
                            of Cash to the Holder of
                            such Allowed Secured
                            Claim in an amount equal
                            to the value of such
                            holder’s interest in the
                            collateral securing the
                            Allowed Secured Claim.

  3       Prepetition       On the Effective Date, the       Estimated Amount:     Impaired and
          Bank Claim        Holder of the Prepetition        $102,949,851.95       entitled to
                            Bank Claim shall receive                               vote
                            all of the Estate Assets and     Estimated Recovery:
                            their proceeds except for        14.1%
                            the Liquidating Trust
                            Assets and the Plan
                            Funding Reserve. After
                            the Effective Date, the
                            Bank shall receive any
                            portion of the Plan Funding
                            Reserve not used to satisfy
                            Confirmation Expenses or
                            Post-Effective Date Debtor
                            Expenses (to the extent
                            permitted under the Plan).
                            The Allowed amount of the
                            Prepetition Bank Claim
                            shall be $102,949,851.95
                            and the Bank shall waive
                            any diminution claim and
                            any deficiency claim


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  Class   Claim/Interest   Treatment of                  Estimated Amount       Voting
  No.                      Claim/Interest                and Projected          Rights
                                                         Recovery
                           against the Debtor and its
                           Estate.
  4       Claims of        The Claims of the WARN        Estimated Amount:      Impaired and
          WARN Act         Act Settlement Class shall    $887,500, plus         entitled to
          Settlement       be treated as provided in     WARN Net               vote
          Class, except    the WARN Act Class            Recovery
          WARN GUC         Settlement.                    Estimated Recovery:
          Claim                                           100% (less expenses
                                                          as provided in
                                (a) WARN Claim. No
                                                          WARN Act Class
                           later than ten (10) days
                                                          Settlement)
                           following the Effective
                           Date the Debtor shall make
                           payment on account of the
                           WARN Claim from the Plan
                           Funding Reserve to the
                           WARN Act Settlement
                           Administrator        in    the
                           amount of $887,500 (which
                           amount shall be inclusive of
                           any withholding and FICA
                           taxes payable by the
                           employer and employees),
                           which, in addition to the
                           WARN Net Recovery shall
                           be in full satisfaction of the
                           WARN Claim. The WARN
                           Act                Settlement
                           Administrator shall make
                           further distribution and
                           payment of said funds in
                           accordance with the WARN
                           Act Class Settlement.

                              (b) WARN Net Recovery.
                           The Liquidating Trustee
                           shall pay any WARN Net
                           Recovery to the WARN Act
                           Settlement Administrator in
                           accordance with the WARN
                           Act Class Settlement. The
                           WARN Act Settlement
                           Administrator shall make

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  Class   Claim/Interest   Treatment of                    Estimated Amount      Voting
  No.                      Claim/Interest                  and Projected         Rights
                                                           Recovery
                           further distributions and
                           payment of said funds in
                           accordance with the WARN
                           Act Class Settlement.

  5       Unsecured        Holders of Allowed Class 5      Estimated Amount:     Impaired and
          Claims,          Claims shall receive one or     $23 to $34 million    entitled to
          including the    more pro rata distributions                           vote
                                                           Estimated Recovery:
          WARN GUC         of the Liquidation Proceeds     4.2 to 6.1%
          Claim            less the Retained Proceeds.
                           The WARN Act Settlement
                           Administrator shall make
                           further distributions and
                           payment of any funds
                           received on account of the
                           WARN GUC Claim in
                           accordance with the
                           WARN Act Class
                           Settlement.
  6       Insider Claims   As of the Effective Date,       Estimated Amount:    Impaired and
                           all Class 6 Insider Claims      $120 to $125 million entitled to
                           which are not Objecting                              vote
                                                           Estimated Recovery:
                           Insider Claims shall be         0%
                           disallowed; however, in
                           lieu of disallowance, each
                           Holder of a Class 6 Claim
                           may elect to convert its
                           Claim into equity in the
                           Post-Effective Debtor in
                           accordance with Section
                           5.08.
  7       Allowed Equity   Holders of Allowed Equity       Estimated Recovery:   Impaired and
          Interests        Interests in Class 7 shall      $0.00                 entitled to
                           retain their Equity Interests                         vote
                           in the Post-Effective Date
                           Debtor and shall receive no
                           distributions of Cash or
                           other Property under the
                           Plan or from the
                           Liquidating Trust on
                           account of such Equity
                           Interests.

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        The liability estimates outlined in the above chart are estimates only, and may change as
objections are filed and resolved. The projected Administrative Expense Claims include estimated
professional fees to be incurred by the Debtor or the Official Committee of Unsecured Creditors
(the “Committee”) through a projected Effective Date of December 4, 2020, but do not reflect the
professional fees already paid to date. It is assumed that a substantial portion of the professional
fees and expenses to be incurred in the future will be paid on a monthly basis under the interim
compensation arrangement approved previously in the Cases, subject to final review and approval
by the Bankruptcy Court. Estimated distributions do not take into account any proceeds resulting
from successful pursuit of Causes of Action following the Effective Date. Such additional
recoveries may increase the estimated distributions for Class 5.

       1.4     Background

         On June 17, 2019 (the “Petition Date”), the Debtor filed a voluntary petition for relief
under Chapter 11 of the Bankruptcy Code in the United States Bankruptcy Court for the Northern
District of Georgia, Atlanta Division (the “Bankruptcy Court”). Upon filing for Chapter 11
protection, the Debtor became a “Debtor-in-Possession” under the Bankruptcy Code and has acted
in that capacity since that time.

        The Debtor filed simultaneously with this Disclosure Statement its Plan of Liquidation.
The Debtor, as proponent of the Plan, distributes this Disclosure Statement together with the Plan
in order to solicit acceptances of the Plan. This introductory section is qualified in its entirety by
the detailed explanations that follow and the provisions of the Plan. In the event of conflict
between anything stated in this Disclosure Statement and the Plan, the terms of the Plan will
control.

       1.5     Solicitation of Acceptances

        Pursuant to a Court Order dated [__________], 2020, creditors and interest holders may
accept or reject the Plan no later than [_____________], 2020 (the “Voting Deadline”). A ballot
with which to indicate and file an acceptance or rejection of the Plan has been provided to you.
You must complete and file your ballot on or before the Voting Deadline in order for your vote to
count. Any ballot that is executed by the holder of any Allowed Claim but does not indicate
acceptance or rejection of the Plan shall be deemed to have accepted the Plan. Any other ballot
not filed in accordance with the filing instructions on the ballot pertaining to the Plan shall not be
counted for voting purposes.

      THE DEBTOR, AS PLAN PROPONENT, HEREBY SOLICITS APPROVAL OF THE PLAN
BY ITS CREDITORS AND INTEREST HOLDERS. THE DEBTOR BELIEVES THE PLAN
PROVIDES THE OPTIMUM RETURN TO CREDITORS AND THAT LIQUIDATION UNDER
CHAPTER 7 OF THE BANKRUPTCY CODE WOULD RESULT IN A REDUCED
DISTRIBUTION TO UNSECURED CREDITORS. THE DEBTOR URGES EACH CREDITOR
AND INTEREST HOLDER TO VOTE IN FAVOR OF THE PLAN BY MARKING THE
“ACCEPTS” BOX ON THE ENCLOSED BALLOT AND FILING IT WITH THE KCC, LLC, THE
DEBTOR’S CLAIMS AND NOTICING AGENT, ON OR BEFORE THE VOTING DEADLINE.
THE CREDITORS COMMITTEE HAS INFORMED THE DEBTOR THAT IT SUPPORTS THE
PLAN AND URGES CREDITORS TO VOTE IN FAVOR OF THE PLAN.

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                              ARTICLE II
      HISTORY OF THE DEBTORS AND EVENTS LEADING UP TO CHAPTER 11

    2.1    History of the Debtor

           (a) The Debtor’s Business Operations

        The Debtor is a Georgia corporation and a member of Valmiera Glass Group. Valmiera
Glass Group is comprised of (i) Valmieras Stikla Šķiedra, AS (“VSS”)1, the Debtor’s Latvian
parent company, (ii) Valmiera Glass UK Ltd., a sister company to the Debtor, and (iii) P-D
Valmiera Glass USA Corp. Collectively, the Valmiera Glass Group produces and processes
fiberglass products which are used for a variety of end use applications from building and
construction to composites to thermal insulation as well as applications in aviation, architecture
and the sports and leisure industry.

        VSS is based in Central Europe and has over a half a century of experience in the
production and processing of fiberglass. VSS has customers worldwide with North America being
its second largest market behind Europe. In 2014, VSS decided to invest in a production facility
in the United States in an effort to further increase its market share in North America. The Debtor
was formed as a subsidiary of VSS and the Debtor’s location in Dublin, Georgia was selected as
the site from which its operations would run. The Debtor’s initial operations, known as “Phase
I,” included a needle mat punch line, which became operational in 2015. After operating Phase I
profitably for several years, the Debtor looked to expand its operations to include a melting furnace
in addition to the downstream processing facility. In 2017, the Debtor launched “Phase II” of its
operations and built a fiberglass furnace for the production of glass fibre. After delays in the
construction of Phase II, it became operational in early 2018.

           (b) The Debtor’s Pre-Petition Capital Structure

                 (i)     City of Dublin and County of Laurens Development Authority.

        In order to finance the acquisition of real property and construction of its facility, the
Debtor entered into a bond for title transaction with the City of Dublin and County of Laurens
Development Authority (the “Authority”). Initially, the Authority issued a Taxable Industrial
Development Revenue Bond (Valmiera Glass USA Corp. Project), Series 2014 in the maximum
principal amount of $129,000,000 (the “Series 2014 Bond”), to acquire a building or buildings,
related improvements, building fixtures and building equipment to be constructed and installed on
land located within the County and owned by the Authority, and equipment and other personal
property to be installed therein, which was to be leased by the Authority to the Debtor, for use by
the Debtor as (i) a facility for light assembly and for warehousing the Debtor’s imported fiberglass
products (“Phase I”) and (ii) if undertaken by the Debtor, a manufacturing expansion of Phase I
(“Phase II”).

       In 2016, and in connection with the Debtor’s decision to proceed with Phase II, the Debtor
entered into a second bond for title transaction with the Authority. The second bond for title

1
 VSS is a publicly traded Latvian company which holds a 52% interest in the Debtor. On June 17, 2019, VSS filed
a Legal Protection Proceeding in Latvia in order to negotiate a restructuring agreement with its creditors.

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transaction involved the issuance of a new bond which was to be used to (i) retire and refund the
outstanding principal amount of the Series 2014 Bond, and thereby refinance Phase I of the Project,
(ii) to acquire Phase II of the Project, and (iii) to lease both Phase I and Phase II to the Debtor
pursuant to a lease agreement which superseded and replaced the lease agreement in place as part
of the 2014 transaction.

        The lease structure was implemented to allow the Debtor certain real and personal property
tax abatements; however, the taxing authorities were unwilling to lose all of the otherwise payable
tax revenue during the term of the Lease so the Debtor and the Authority entered into an Economic
Development Agreement dated April 1, 2016 pursuant to which the Debtor agreed to make certain
payments under the Lease. Additionally, the Lease provided terms for repayment or forgiveness
of certain loans, grants and other advances made to the Debtor as an incentive for the Debtor to
build its facility in Dublin, Georgia. More specifically, the Authority made two loans to the Debtor
from a Revolving Loan Fund established by Laurens County. The first loan, in the principal amount
of $375,000 was made to Debtor for Phase I (the “Phase I Community Revolving Loan”). The
second loan in the principal amount of $1,600,000 was made to Debtor for Phase II (the “Phase II
Community Revolving Loan”). The Authority contends that repayment of both loans are
obligations under the Lease. The Authority also granted the Debtor $600,000 (the “Phase I
Community Grant Payment”) and $1,000,000 (the “Phase II Community Grant Payment”),
which under the Lease structure are subject to possible recovery payments if certain established
milestones were not met or in the event of a plant shutdown.

        In addition to the loans and grants by the Authority, the Debtor also received two Georgia
EDGE Grants from the State of Georgia. The first grant was in the amount of $300,000 for Phase
I and the second was in the amount of $1,000,000 for Phase II.

         In connection with the 2016 Lease, the Debtor and the Authority entered into an Option
Agreement dated April 1, 2016 pursuant to which the Debtor was granted the option to purchase
all of the real and personal property subject to the Lease on terms and conditions set forth in the
Option Agreement. On June 2, 2020, the Debtor exercised its option pursuant to the Option
Agreement, with the consent of the Authority, and as part of an approved sale of assets to Saint-
Gobain Adfors America, Inc., which is discussed in more detail below.

                   (ii)    AS “SEB Banka” and Danske Bank A/S.

        As of the Petition Date, the Debtor was indebted to the Bank under a Guaranty and Security
Agreement dated as of June 28, 2017 for loans to the Debtor’s parent company, VSS, in the amount
of $102,949,851.95 (the “Pre-Petition Debt”). Furthermore, as security for the payment of the
Pre-Petition Debt, the Debtor granted to the Bank pursuant to the Guaranty and Security
Agreement and related documents (collectively, the “Pre-Petition Loan Documents”), security
interests in and liens (collectively, the “Pre-Petition Liens”) upon all of the Debtor’s interests in
real and personal property, including, without limitation, the following items: (i) accounts,
accounts receivables, payment intangibles, instruments, intercompany claims, and other rights to
receive payments of the Debtor (including, without limitation, the accounts), whether now existing
or hereafter arising or acquired, (ii) related general intangibles (including, without limitation,
contract rights and intellectual property), chattel paper, documents, supporting obligations, letter-
of-credit rights, commercial tort claims set forth in schedules to the Guaranty and Security
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Agreement, remedies, guarantees and collateral evidencing, securing or otherwise relating to or
associated with the property in subpart (i) above, including, without limitation, all rights of
enforcement and collection, (iii) all goods (including all inventory, all equipment, all motor
vehicles and all fixtures), (iv) books and records of the Debtor evidencing or relating to or
associated with any of the foregoing, and (iv) collections, accessions, receipts and all proceeds of
any and all of the foregoing (all such property, as the same existed on the Petition Date, together
with all cash and non-cash proceeds thereof, the “Pre-Petition Collateral”).

           (c) The Debtor’s Ownership Structure

         As of the Petition Date, the Debtor’s ownership structure was as follows:

 AS Valmieras Stikla Šķiedra                                   52%
 Mr. Heinz-Jürgen Preiss-Daimler                               15%
 P-D Management Industries Technologies Gmbh                   23%
 Lamtec Corporation                                            10%

   2.2     Events Leading Up To Chapter 11

        The Debtor incurred significant unexpected losses as a result of construction delays and an
overrun of construction costs for its Phase II operations. The construction completion was
followed by an extended production start-up during which the Debtor did not manage to achieve
the planned and designed capacity. As a result, Phase II proved to be unprofitable from the start
and a cash drain on the remaining portion of the Debtor’s business. The Debtor sought to sell its
operations pre-petition, but was not able to find a suitable buyer within the timeframe needed. The
continuous financial support from the major shareholder VSS led to cash flow constraints at VSS.

        By June 2019, VSS was preparing to file a Legal Protection Proceeding in Latvia in order
to negotiate a restructuring agreement with its creditors. The Debtor was a co-obligor and/or
guarantor on certain of VSS’s debt; therefore, after consultation with its professionals, the Debtor
determined that filing Chapter 11 was the best method of preserving the value of its assets.
Shortly before its Chapter 11 filing on June 17, 2019, the Debtor began shutting down the Phase
II operations and terminated a significant portion of its workforce. Immediately after filing, the
Debtor sought and obtained approval from the Court to execute a controlled shut down and cooling
of the furnace in an effort to maximize and preserve the value for the benefit of the estate.

   2.3     Significant Events During Chapter 11

           (a) The Debtor’s Postpetition Financial Performance

        Since the Petition Date, the Debtor has operated its busines as a debtor-in-possession
pursuant to Sections 1107 and 1108 of the Bankruptcy Code. Summaries of the Debtor’s post-
petition financial performance are filed on a monthly basis with the Bankruptcy Court pursuant to
the Operating Guidelines and Reporting Requirements for Debtors In Possession and Chapter 11
Trustees for Region 21 (the “Monthly Operating Reports”). The Monthly Operating Reports are
available from the Office of the Clerk of the U.S. Bankruptcy Court for the Northern District of
Georgia and are also available at no charge online at www.kccllc.net/ValmieraGlassUSA.

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          (b) First Day Orders

        On June 19, 2019, the Court held a hearing on certain “First Day” motions, in which the
Debtor sought entry of orders providing certain relief on an expedited basis in order to minimize
disruption to the Debtor’s business operations and facilitate an orderly reorganization process.
Following the conclusion of that hearing, the Bankruptcy Court entered orders on the “First Day”
motions, including, without limitation, (i) an order authorizing the Debtors to pay accrued but
unpaid prepetition wages earned by its employees, and (ii) an order authorizing the use of funds
for an orderly plant closure.

          (c) The Debtor’s Professionals

       The Debtor retained the Atlanta-based firm of Scroggins & Williamson, P.C. as its general
bankruptcy counsel. Scroggins & Williamson, P.C. has extensive experience representing debtors
in complex Chapter 11 bankruptcy cases. The Debtor also retained KCC, LLC as its claims,
noticing and balloting agent.

          (d) Formation of Creditors Committee

        On July 8, 2019, the U.S. Trustee pursuant to its authority under Section 1102 of the
Bankruptcy Code appointed the following members to the Official Committee of Unsecured
Creditors (the “Committee”): (i) Etimine USA, Inc., (ii) Active Minerals International, LLC, and
(iii) DeWayne Whitehead, on behalf of himself and all others similarly situated. The Committee
retained the law firm of Kilpatrick Townsend & Stockton, LLP as counsel. In addition, the
Committee retained Dundon Advisers LLC as financial advisors to the Committee.

          (e) Post-Petition Cash Collateral Use

        On June 25, 2019, the Debtor filed its Motion for Authority to Use Cash Collateral [Dkt.
No. 26] seeking authority to use cash collateral to fund its ongoing operations. On July 2, 2019,
the Court entered an Interim Order on Debtor’s Motion for Authority to Use Cash Collateral and
Notice of Final Hearing [Dkt. No. 48], (the “First Interim DIP Order”). On July 17, 2019, the
Court entered a Second Interim Order on Debtor’s Motion for Authority to Use Cash Collateral
and Notice of Final Hearing [Dkt. No. 75] (the “Second Interim DIP Order”). On August 9,
2019, the Court entered a Third Interim Order on Debtor’s Motion for Authority to Use Cash
Collateral and Notice of Final Hearing [Dkt. No. 125], (the “Third Interim DIP Order”) and on
September 19, 2019, the Court entered a Final Order on Debtor’s Motion for Authority to Use
Cash Collateral [Dkt. No. 194] (the “Final DIP Order” and together with the First Interim DIP
Order, the Second Interim DIP Order and the Third Interim DIP Order, the “Orders”). Pursuant
to Paragraph 1(a) of the Final DIP Order, the Termination Date may be extended by written
agreement of the Debtor and the Bank with the consent of the Committee. On or about December
30, 2019, the Debtor, the Bank and the Committee signed a written Stipulation extending the
Termination Date through March 23, 2020. On March 24, 2020, the Court entered an Order
Approving Stipulation Between Debtor and Bank Extending Use of Cash Collateral [Dkt. No.
299], extending the Termination Date through April 28, 2020. On April 29, 2020, the Debtor, the
Bank and the Committee signed a written Stipulation extending the Termination Date through June
21, 2020. On August 24, 2020, the Court entered an Order Approving Stipulation Authorizing

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Further Use of Cash Collateral pursuant to which the Debtor’s authority to use cash collateral was
extended through and including December 31, 2020 and certain provisions of the Final Cash
Collateral Order pertaining to a Carve-Out for professional fees was modified.

        Paragraph 10 of the Final Order established December 3, 2019 (the “Challenge Deadline”)
as the deadline for the Committee to challenge the amount, validity, perfection, enforceability,
priority or extent of the pre-petition debt and/or liens asserted by the Bank. By written agreement,
the Committee and Bank agreed to extend the Challenge deadline through and including January
17, 2020.

       On January 17, 2020, the Committee filed its Motion of the Official Committee of
Unsecured Creditors for Order Granting (I) Leave, Standing, and Authority to Commence and
Prosecute Certain Claims on Behalf of the Debtor’s Estate Against (A) AS “SEB BANKA,” in its
Capacity as Security Agent, and (B) AS “SEB BANKA” and DANSKE BANK A/S, in Their
Respective Capacities as Lenders, and (ii) Related Relief [Dkt. No. 252] (the “Standing Motion”).
On April 16, 2020, the Bank filed its Objection to the Motion of the Official Committee of
Unsecured Creditors for Order Granting (II) Leave, Standing, and Authority to Commence and
Prosecute Certain Claims on Behalf of the Debtor’s Estate, and (ii) Related Relief [Dkt. No. 317]
(the “Bank Objection”). In support of its objection, the Bank also filed a Declaration Emils Zalitis
[Dkt. No. 318]. On April 17, 2020, the Debtor filed a response to the Standing Motion [Dkt. No.
320]. No other creditor or party in interest filed a challenge to the pre-petition debt or liens asserted
by the Bank on or before the Challenge Deadline. The Standing Motion, the Bank Objection, and
the Debtor’s response remain pending.

           (f) Schedules and Statement of Financial Affairs

        On July 23, 2019, the Debtor filed with the Court its schedules and statements required by
Bankruptcy Rule 1007 (the “Schedules”). These Schedules provide information concerning the
Debtor’s financial condition on or about the Petition Date. These documents are available from
the Office of the Clerk of the U.S. Bankruptcy Court for the Northern District of Georgia and are
online at https://ecf.ganb.uscourts.gov (please note that a PACER account is required to view and
download documents), or free of charge at www.kccllc.net/ValmieraGlassUSA.

           (g) Bar Dates

        By Order of the Bankruptcy Court dated January 10, 2020, the Court established March
11, 2020 as the Bar Date by which all creditors holding prepetition claims (including
administrative expense claims under 11 U.S.C. § 503(b)(9) for goods delivered within 20 days
prior to the Petition Date) were required to file proofs of claim or be barred from (i) asserting any
claim against the Debtor, and (ii) voting on, or receiving distributions under, the Plan. Creditors
whose claims were listed in the Schedules and not identified as “contingent,” “disputed” or
“unliquidated” were not required to file proofs of claim.

        By Order of the Court dated August 13, 2020, the Court established September 15, 2020
as the Initial Administrative Expense Claim Bar Date by which all creditors asserting a claim
arising after the Petition Date and through and including July 31, 2020 was required to file a request
for payment or be barred from asserting such claim.

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          (h) Sale to Saint-Gobain Adfors America, Inc.

        On March 2, 2020, the Debtor filed its Debtor’s Motion (A) For Authority to Sell Assets
Free and Clear of Liens, Claims and Encumbrances; (B) to Assume and Assign Certain Executory
Contracts, Leases, and Licenses and Establish Cure Costs in Connection Therewith; (C) to
Establish Procedures with Respect to Such Sale and the Assumption and Assignment of Executory
Contracts and Leases, (D) to Consider Approval of Breakup Fee, And (E) To Shorten and Limit
Notice [Dkt. No. 273]. On March 2, 2020, the Court held a preliminary hearing on the Sale Motion.
On March 10, 2020, the Court entered an order approving certain procedures in connection with
the sale of substantially all of the Debtor’s assets [Dkt. No. 280].

        The Debtor entered into an asset purchase agreement dated March 2, 2020 with Saint-
Gobain Adfors America, Inc. (“Saint Gobain”) for the purchase and sale of substantially all of the
Debtor’s assets. On April 22, 2020, the Court held a hearing on the Sale Motion and approved the
asset purchase agreement and the sale transaction to Saint-Gobains. On April 27, 2020, the Court
entered an Order (I) Approving Asset Purchase Agreement And Authorizing the Sale of the Debtor’s
Assets Outside the Ordinary Course of Business, (II) Authorizing the Sale of Assets Free And Clear
of All Liens, Claims, Encumbrances And Interests, (III) Authorizing the Assumption And
Assignment Of Assumed and Assigned Agreements, And (IV) Granting Related Relief granting the
Sale Motion [Dkt. No. 325] (the “Sale Order”). The transaction authorized by the Sale Order was
closed effective as of 12:01 a.m. on June 2, 2020.

       Pursuant to the terms of the Sale Order, the Debtor exercised the purchase option under the
Lease with the Authority and paid the Authority $1.1 million of the sale proceeds in connection
therewith. The remaining sale proceeds in the amount of $17,284,026.52 are being held by Truist
Bank, as escrow agent.

          (i) WARN Act Litigation

        As mentioned above, the Debtor incurred significant unexpected losses as a result of
construction delays and an extended start-up of its Phase II operations. Phase II proved to be
unprofitable from the start and a cash drain on the remaining portion of the Debtor’s business. The
Debtor was in negotiations with a potential buyer to sell substantially all of its business and
believed a sale transaction that would keep the workforce intact was imminent. When the Debtor
determined that a sale was not possible within the timeframe needed, the Debtor began shutting
down the Phase II operations, terminated a significant portion of its workforce and sought
protection under Chapter 11 of the Bankruptcy Code.

        A former employee, Dwayne Whitehead, commenced the WARN Act Class Action,
Adversary Proceeding No. 19-05247, pursuant to the Worker Adjustment and Retraining
Notification, or “WARN,” Act, 29 U.S.C. § 2101 et seq in the Bankruptcy Court on June 26, 2019,
in which he asserted priority claims against the Debtor under the WARN Act. Whitehead alleged
that the mass layoff and/or plant closing implemented at the Facility, beginning on or about June
17, 2019, violated the WARN Act because the putative class members who worked at or reported
to the facility owned and operated by the Debtor were not provided sixty days advance written
notice of their terminations, and sought an aggregate allowed § 507(a)(4) and (5) claim against the
Debtor on behalf of himself and on behalf of all other persons similarly situated, (the “Class

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Members”) equal to the sum of 60 days’ unpaid wages, salary, commissions, bonuses, accrued
holiday pay, accrued vacation pay, pension and 401(k) contributions and other ERISA benefits,
determined in accordance with the WARN Act, with any remainder as a general unsecured claim,
plus attorneys’ fees and costs. On July 25, 2019, the Parties filed the first of multiple stipulations
extending the time for the Debtor to file an answer, in an effort to conserve the already scarce
assets of the estate and to explore the possibility of a consensual resolution. On March 9, 2020,
Whitehead and Mark Hooper filed a class proof of claim for WARN damages, unpaid wages and
vacation (the “WARN Act Class POC”).

        While the Debtor has consistently maintained that it has strong defenses and/or objections
to liability and damages with respect to both the WARN Act Class Action and the WARN Act
Class POC, the Debtor has also recognized that litigating these issues would undoubtedly be time
consuming and costly to the Debtor’s Estate. In order to facilitate a possible settlement, the Debtor
informally produced wage and employment information for use in settlement negotiations.
Eventually, with the active participation and assistance of the Committee and the Bank, the parties
were able to reach a consensual resolution. The WARN Act Class Settlement is incorporated in
the Plan and has been preliminarily approved by order of the Bankruptcy Court entered in the Case
on _______, 2020 [Doc. No. __] (the “Preliminary Approval Order”). The Preliminary
Approval Order, inter alia, (a) preliminarily approves the WARN Act Class Settlement pursuant
to Bankruptcy Rule 7023 and Civil Rule 23A, (b) certifies the WARN Act Settlement Class for
settlement purposes only, including the appointment of The Gardner Firm, P.C. and Lankenau &
Miller, LLP as Class Counsel and Whitehead and Hooper as Class Representatives, (c) approves
the form and manner of notice of the WARN Act Class Settlement to the members of the Class,
and (d) schedules a fairness hearing to consider final approval of the WARN Act Class Settlement
(the “Fairness Hearing”). The Fairness Hearing has been scheduled before the Bankruptcy Court
for _________, 2020. If approved by the Bankruptcy Court, the WARN Act Class Settlement
would resolve the WARN Act Class POC and WARN Act Class Action.

        Among other things, the WARN Act Class Settlement would provide for certain allowed
Claims in favor of the WARN Act Settlement Class, including the WARN Claim, the WARN Net
Recovery and the WARN GUC Claim. The WARN Claim would be allowed as a Claim entitled
to priority under section 507(a)(4) of the Bankruptcy Code in the amount of $887,500 (which
amount shall be inclusive of any withholding and FICA taxes payable by the employer and
employees). Additionally, the WARN Act Settlement Class would receive the WARN Net
Recovery, consisting of 15% of any recoveries by the Liquidating Trust from any Excluded Assets,
net of legal fees and other costs incurred by the Liquidating Trust directly related to such
recoveries. The treatment under the Plan afforded the WARN Claim and the WARN Net Recovery
is described in Section 4.3(b) below.

       Finally, the WARN Act Settlement Class would also be allowed the WARN GUC Claim,
which is an Unsecured Claim in the in the amount of $1,112,500. The WARN GUC Claim is
included in Class 5 under the Plan. The treatment of Class 5 Claims is described in Section 4.3(c)
below. (the “WARN GUC Claim”). The WARN GUC Claim would receive Distributions from
the Liquidating Trust pro rata with other holders of Class 5 Claims, as described in more detail
below. Said Distributions would be made to the WARN Act Settlement Administrator, who shall
make further distribution and payment of any funds received on account of the WARN GUC Claim
in accordance with the WARN Act Class Settlement

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           (j) Rejection of Executory Contracts

        Since the Petition Date, the Debtor has filed three omnibus motions seeking to reject certain
executory contracts and unexpired leases. Those motions were granted by orders entered on July
31, 2019, January 9, 2020 and February 27, 2020, and the underlying contracts and leases have
been rejected. Any executory contract or unexpired lease to which the Debtor was a party that has
not been assumed or rejected by the Debtor pursuant to a Final Order of the Court as of the
Effective Date (unless a motion to assume or reject such executory contract or unexpired lease is
pending as of the Effective Date) shall be deemed rejected by the Debtor on the Effective Date.
Notwithstanding anything to the contrary herein or in the Plan, (a) all insurance policies in force
as of the Effective Date shall remain in effect following the Effective Date unless and until rejected
by separate motion and/or terminated in accordance with their terms, and (b) the OS Agreement
shall remain in effect until terminated under the terms therein.

                                   ARTICLE III
                     CLASSIFICATION OF CLAIMS AND INTERESTS

   3.1     Introduction

        The following is a summary of the Plan. This overview is qualified in its entirety by
reference to the provisions of the Plan. In accordance with Section 1123(a)(1) of the Bankruptcy
Code, Allowed Administrative Expense Claims and Allowed Priority Tax Claims are not classified
under the Plan. All other Claims and Interests in the Case are classified as shown below. The Plan
provides that holders of Allowed Claims in certain classes will be entitled to a distribution of cash.
Notwithstanding any provision of the Plan, a Claim in a particular Class is entitled to receive
Distributions pursuant to the Plan only to the extent that such Claim is an Allowed Claim in that
Class, and only to the extent such Claim has not been paid, released, or otherwise satisfied prior
to the Effective Date.

   3.2     Classifications

       The Plan divides all classified Claims and Interests into the following Classes, which shall
be mutually exclusive.

         Class 1:      Class 1 shall consist of all Allowed Other Priority Claims, if any.
         Class 2:      Class 2 shall consist of Allowed Secured Claims against the Debtor that are
                       not included in Class 3, if any.
         Class 3:      Class 3 shall consist of the Allowed Prepetition Bank Claim.
         Class 4:      Class 4 shall consist of all Allowed Claims of the WARN Act Settlement
                       Class, except the WARN GUC Claim.
         Class 5:      Class 5 shall consist of Allowed Unsecured Claims, including without
                       limitation, the WARN GUC Claim.
         Class 6:      Class 6 shall consist of all Insider Claims which are not Objecting Insider
                       Claims.
         Class 7:      Class 7 consists of all Allowed Equity Interests in the Debtor.




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                                ARTICLE IV
           DESCRIPTION OF CLAIMS AND TREATMENT UNDER THE PLAN

        Claims and Interests, as well as their treatment and an analysis of whether they are
classified or unclassified and impaired or unimpaired, are described as follows:

   4.1         Unclassified Claims

         (a)       Nonclassification

      In accordance with Section 1123(a)(1) of the Bankruptcy Code, Administrative Expenses
and Priority Tax Claims have not been classified in the Plan. The treatment accorded to
Administrative Expenses and Priority Tax Claims is set forth in Article II of the Plan.

         (b)       Administrative Expenses

         Allowed Administrative Expense Claims shall be paid by the Debtor from the Plan Funding
Reserve as set forth below. Except as otherwise provided below, on or before the later to occur of
(i) thirty (30) days following the Final Administrative Expense Claim Bar Date, or (ii) ten (10)
business days following the date of entry of a Final Order allowing the Claim, each Holder of an
Allowed Administrative Expense Claim shall be paid in full, in Cash in an amount equal to the
Allowed Amount of its Administrative Expense Claim, in accordance with Section 1129(a)(9)(A)
of the Bankruptcy Code. In the event that Allowed Professional Compensation Claims for the
Committee’s Professionals exceed $1,080,000, such excess Professional Compensation Claims
shall be paid by the Liquidating Trustee from the GUC Amount. In the event that Allowed
Professional Compensation Claims for the Debtor’s Professionals exceed $1,337,839.36, then such
excess Professional Fees shall not be payable from Estate Assets or Liquidation Trust Assets (but
may be paid from the Fee Reserve established under the OS Agreement). In the case of
Professional Compensation Claims which have been allowed by Final Order or that are otherwise
payable pursuant to the Monthly Fee Procedures, to the extent not already paid, such Claims shall
be paid in full, in Cash, no later than three (3) Business Days after the Effective Date, subject to
the foregoing limitations and to disgorgement if not allowed pursuant to a final application for
approval of such Professional Compensation Claims. If any such fees are disgorged they shall
constitute Estate Assets and shall be payable to the Bank in accordance with the Plan.
Notwithstanding the foregoing, each Holder of an Allowed Administrative Expense Claim may be
paid (a) on such other terms as may be agreed upon by the Holder of such Allowed Administrative
Expense Claim and the Debtor, with the written consent of the Bank, or (b) as otherwise ordered
by a Final Order of the Bankruptcy Court.

         (c)       Fees and Charges

        All fees and charges assessed against the Estate under Chapter 123 of Title 28, United
States Code, 28 U.S.C. §§1911-1930, which are incurred but unpaid for all periods through the
Effective Date, will be paid on the Effective Date or as soon as reasonably practicable thereafter,
by the Debtor from the Plan Funding Reserve or under the OS Agreement, to the extent provided
therein.


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         (d)       Applications for Allowance of Administrative Expenses

        All Holders of Administrative Expense Claims (other than Claims which arose on or before
July 31, 2020, Claims pursuant to 11 U.S.C. § 503(b)(9) and Professional Compensation Claims)
that do not file an application or other Bankruptcy Court-approved pleading on or before the Final
Administrative Expense Claim Bar Date which is twenty (20) days after the Effective Date (unless
such date is extended by the Court) will be forever barred from asserting such Administrative
Expense Claim against the Debtor, the Estate, or the Liquidating Trustee. Claims arising under 11
U.S.C. §503(b)(9) were required to be filed by the Bar Date, and if they were not filed by the Bar
Date, they are forever barred. Administrative Expense Claims arising from June 17, 2019 through
and including July 31, 2020 were required to be filed by the Initial Administrative Expense Claim
Bar Date, and if they were not filed by the Initial Administrative Claims Bar Date, they are forever
barred.

               (e) Applications for Final Allowance of Professional Compensation Claims.

        All Holders of Professional Compensation Claims must file with the Bankruptcy Court a
final application for allowance and payment of fees and expenses on or before the Final Fee
Application Deadline. Any Professional failing to file and serve such final application on or before
the Final Fee Application Deadline shall be forever barred from asserting any such right to
payment against the Debtor or the Estate. Objections to such Professional Compensation Claims,
if any, must be filed and served no later than 20 days after the Final Fee Application Deadline.

         (f)       Priority Tax Claims

        The Debtor will pay from the Plan Funding Reserve all Allowed Priority Tax Claims in
Cash in full on the Effective Date or as soon thereafter as is reasonably practicable, but in no event
later than the end of five (5) years from the Petition Date. As to any Allowed Priority Tax Claim
not paid in full on the Effective Date, the Holder of such Allowed Priority Tax Claim shall receive
on account of such Allowed Priority Tax Claim regular quarterly installment payments in Cash in
accordance with Section 1129(a)(9)(C) of the Bankruptcy Code through and including the date
such Allowed Priority Tax Claim is paid in full. Holders of Allowed Priority Tax Claims shall
receive interest on account of their Allowed Priority Tax Claims at the Section 6621 Interest Rate;
provided, however, that if the Holder of such Allowed Priority Tax Claim is a city, county or state,
such Holder shall receive interest on account of its Allowed Priority Tax Claim at the applicable
statutory rate under state law. To the extent that any Allowed Priority Tax Claim is allowed after
the Effective Date, it will be paid in full in Cash as soon after allowance as is reasonably practicable
over a period no later than the end of five (5) years from the Petition Date, including interest as
calculated above.

   4.2         Unimpaired Classes of Claims and Interests

       The following classes of Claims and Interests are unimpaired; therefore, under 11 U.S.C.
§ 1126(f), they will be conclusively presumed to have accepted the Plan.




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           (a) Class 1: Other Priority Claims

           Each holder of an Allowed Other Priority Claim designated in Class 1 shall be paid as
follows:

         (i) In full, in Cash, on or before the later of the Effective Date or, if an objection to such
         Claim is asserted, five business days following the date of a Final Order allowing any such
         Claim; or

         (ii) Upon such other terms as may be agreed to between the Debtor, the Bank and a Holder
         of an Allowed Priority Claim.

      Class 1 is unimpaired by the Plan. Holders of Class 1 Claims are not entitled to vote to
   accept or reject the Plan.

           (b) Class 2: All Other Secured Claims

           Each Allowed Secured Claim in Class 2, if any, shall be satisfied, at the Debtor’s
   option, as follows (i) by the transfer, assignment and conveyance by the Debtor of the collateral
   securing such Class 2 Claim to the Holder of such Allowed Secured Claim in full and final
   satisfaction of such Allowed Secured Claim, (ii) by the sale of the collateral securing such
   Allowed Secured Claim, following Designated Notice, and the payment by the Debtor to the
   Holder of such Allowed Secured Claim of the net sale proceeds in an amount equal to the value
   of such Holder’s interest in the collateral in full and final satisfaction of such Allowed Secured
   Claim, or (iii) by payment of Cash to the Holder of such Allowed Secured Claim in an amount
   equal to the value of such holder’s interest in the collateral securing the Allowed Secured
   Claim.

   4.3     Impaired Classes of Claims and Interests

       The following classes of Claims and Interests are impaired; therefore, Holders of such
Claims are entitled to vote on the Plan.

           (a) Class 3: Prepetition Bank Claim

        Class 3 consists of the Prepetition Bank Claim of the Bank against the Debtor. The Allowed
amount of the Prepetition Bank Claim shall be $102,949,851.95. On the Effective Date, the Holder
of the Prepetition Bank Claim shall receive all of the Estate Assets and their proceeds, free and
clear of all Claims and Liens other than the Claims and Liens of the Bank, except for the
Liquidating Trust Assets and the Plan Funding Reserve. The Debtor shall execute any and all
documents requested by the Bank necessary to convey the Estate Assets, except the Liquidating
Trust Assets, to the Bank or the Bank’s designee. The Debtor shall fully cooperate with the Bank
in converting the Estate Assets, except the Liquidating Trust Assets, to Cash. The Bank is hereby
granted an irrevocable power of attorney on behalf of the Debtor, the Post-Effective Date Debtor,
and the Estate with respect to the transfer and collection of the Estate Assets. Notwithstanding
anything to the contrary in the Plan, any Post-Effective Date Debtor Expenses (including Post-
Petition Debtor Professional Fees) shall be payable from the Fee Reserve under the OS Agreement

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or the Plan Funding Reserve (but only to the extent funds in the Plan Funding Reserve are not used
to pay Confirmation Expenses). The Committee (if extant) and the Liquidating Trustee shall
reasonably cooperate at no cost to themselves with the Bank in converting the Estate Assets,
except the Liquidating Trust Assets, to Cash and conveying the same to the Bank or the Bank’s
designee. After the Effective Date, as soon as practicable the Bank shall receive any portion of
the Plan Funding Reserve not used to satisfy Confirmation Expenses or reserved for (a)
Confirmation Expenses which are the subject of a pending objection as of the Effective Date, or
(b) reasonably anticipated Post-Effective Date Debtor Expenses. As of the Effective Date, the
Bank shall waive any diminution claim, including the Superpriority Claim (as defined in the Cash
Collateral Order), and any deficiency claim against the Debtor and the Estate but the Bank shall
retain its Claims and Liens against the Estate Assets, except for the Liquidating Trust Assets. For
avoidance of doubt, the Bank shall release Claims and Liens, if any, on or against any of the
Liquidating Trust Assets. Additionally, for the avoidance of doubt, the Bank shall retain any
Claims and Liens it has against any Insiders and any non-Debtor obligors of the Prepetition Bank
Claim and their collateral and shall not be deemed to release any such Claims or Liens. Except as
expressly modified herein, on and after the Effective Date the Bank shall retain all rights under the
Cash Collateral Order. As of the Effective Date, the Committee, the Debtor, the Estate, and the
Liquidating Trustee shall be deemed to have waived any and all Claims or Causes of Action that
they may have against the Bank. Within three (3) Business Days after the Effective Date, the
Standing Motion shall be withdrawn with prejudice by the Committee.

          (b) Class 4: WARN Act Class Claims

        Class 4 consists of all Allowed Claims in favor of the WARN Act Settlement Class,
except for the WARN GUC Claim which shall be part of Class 5. The WARN Act Class Claims
shall be treated as provided in the WARN Act Class Settlement, which is expressly incorporated
herein by reference. Class 4 is Impaired by the Plan. The Class Representatives shall be entitled
to vote to accept or reject the Plan on behalf of Class 4.

       (a) WARN Claim. No later than ten (10) days following the Effective Date the Debtor
       shall make payment on account of the WARN Claim from the Plan Funding Reserve to the
       WARN Act Settlement Administrator in the amount of $887,500 (which amount shall be
       inclusive of any withholding and FICA taxes payable by the employer and employees),
       which, in addition to the WARN Net Recovery, shall be in full satisfaction of the WARN
       Claim. The WARN Act Settlement Administrator shall make further distribution and
       payment of said funds in accordance with the WARN Act Class Settlement.

       (b) WARN Net Recovery. The Liquidating Trustee shall pay any WARN Net Recovery
       to the WARN Act Settlement Administrator in accordance with the WARN Act Class
       Settlement. The WARN Act Settlement Administrator shall make further distribution and
       payment of said funds in accordance with the WARN Act Class Settlement.

          (c) Class 5: Unsecured Claims

       Class 5 consists of all Allowed Unsecured Claims, including the WARN GUC Claim. As
soon as is reasonably practicable following the Effective Date, as determined by the Liquidating
Trustee in his or her sole discretion, the Liquidating Trustee shall make a pro-rata Distribution to

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the Holders of Allowed Class 5 Claims of the Liquidation Proceeds less the Retained Proceeds.
On each Distribution Date or as soon thereafter as is reasonably practicable, the Liquidating
Trustee shall make pro-rata Distributions to the holders of Allowed Class 5 Claims of any available
Liquidation Proceeds less Retained Proceeds that remain in the Liquidating Trust, until the date
on which all Allowed Class 5 Claims have been paid in full. If Liquidation Proceeds remain after
all expenses of the Liquidating Trust and all Disputed Claims have either been reserved or an
appropriate reserve established, Holders of Allowed Class 5 Claims shall be entitled to interest on
their Allowed Class 5 Claim calculated at the post-judgment rate of interest for the State of
Georgia. The WARN Act Settlement Administrator shall make further distribution and payment
of any funds received on account of the WARN GUC Claim in accordance with the WARN Act
Class Settlement.

          (d) Class 6: Insider Claims

        Class 6 consists of all Insider Claims which are not Objecting Insider Claims. As of the
Effective Date, all Class 6 Claims shall be disallowed; provided, however, that in lieu of
disallowance of its Class 6 Claim each Holder of a Class 6 Claim may elect to convert its Claim
into equity in the Post-Effective Date Debtor (each, an “Electing Holder”). Such election may be
made only by delivery to the Debtor on or before the Effective Date of written notice of the
Holder’s election to convert its Class 6 Claim into equity of the Debtor following the Effective
Date. Such election must be made with respect to the Electing Holder’s entire Class 6 Claim and
no partial election shall be permitted. A total of 2500 shares of common stock in the Post-Effective
Date Debtor (the “New Shares”) with a par value of $100,000 for each share shall be authorized
and issued to the Electing Holders Holders such that an Electing Holder shall receive one share of
common stock in the Post-Effective Debtor for each $100,000 of its Insider Claim with any amount
of an Insider Claim between $50,000 and $99,999.99 rounded up to the nearest $100,000.
Promptly following the Effective Date, the Debtor shall calculate the total amount of Class 6
Claims which have elected to convert to equity and shall issue New Shares in the Post-Effective
Date Debtor to each Electing Holder. For purposes of such calculation, the amount of each
Electing Holder’s Class 6 Claim shall be deemed to be the amount shown in its last timely filed
proof of claim (or if no proof of claim was timely filed, as shown in the Debtor’s Schedules, if
such claim was not scheduled as contingent, disputed or unliquidated, or as set forth in the Plan);
provided, however, notwithstanding the foregoing, the amount of the Insider Claim of VSS and
the Class 6 Claim of VSS as an Electing Holder shall be deemed to be $113,562,898.30 in the
event VSS files a proof of claim in that amount on or before the date of the Confirmation Hearing
rather than the amount shown in the Debtor’s Schedules such that VSS shall receive 1,114 shares
of common stock in the Post-Effective Debtor as an Electing Holder. As of the Effective Date, the
Debtor’s Articles of Incorporation and Bylaws shall be deemed to be amended to permit the
issuance of the New Shares in the Post-Effective Date Debtor as set forth above. Each Holder of
an Insider Claim which is not an Objecting Insider Claim shall be deemed to be an Insider Released
Party under Article VII, Section 7.04 of the Plan. Except for the conversion rights provided above
for Electing Holders, no Class 6 Claim shall receive any distribution under the Plan.

          (e) Class 7: Equity Interests

       Class 7 consists of all Allowed Equity Interests in the Debtor. The Holders of Allowed
Equity Interests in Class 7 shall retain their Equity Interests in the Post-Effective Date Debtor and

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shall receive no distributions of Cash or other Property under the Plan on account of such Equity
Interests.

                                            ARTICLE V

                         MEANS FOR IMPLEMENTATION OF THE PLAN


   5.1    Creation of Liquidating Trust.

        On the Effective Date, the Liquidating Trust shall be created. The Liquidating Trust shall
be governed by the Liquidating Trust Agreement, the Plan and the Confirmation Order. A copy
of the Liquidating Trust Agreement is attached to the Plan as Schedule 6.01. The primary purpose
of the Liquidating Trust will be to collect and distribute proceeds to its Beneficiaries as well as to
prosecute any Causes of Action, including Avoidance Actions, which are not expressly released
or waived under the Plan. Potential Avoidance Actions are identified in the Debtor’s Schedules.
The initial Liquidating Trustee shall be Advisory Trust Group, LLC.

   5.2    Transfer and Vesting of Assets to the Liquidating Trust

        On the Effective Date, or such later dates as are specified in the Plan, the Debtor shall,
pursuant to Section 1123(b) of the Bankruptcy Code, transfer all Liquidating Trust Assets to the
Liquidating Trust. All transfers to the Liquidating Trust shall be free and clear of all liens, claims,
interests and encumbrances, except as otherwise set forth in the Plan. For the avoidance of doubt,
except as expressly provided in the Plan or the Confirmation Order, nothing in the Plan or
Disclosure Statement shall be construed to restrict or limit the ability or standing of the Liquidating
Trustee to assert any Causes of Action transferred to the Liquidating Trust. In connection with
any Causes of Action that are included in the Liquidating Trust, any attorney-client privilege,
work-product privilege or protection, or other privilege or immunity attaching to any documents
or communications thereto (whether written or oral) will also exist for the benefit of the
Liquidating Trust and will vest in the Liquidating Trustee and his or her representatives. The
Liquidating Trustee is authorized to take all necessary actions to benefit from such privileges. For
federal income tax purposes, the transfer of the Liquidating Trust Assets to the Liquidating Trust
will be deemed to be a transfer to the Holders of Allowed Claims (who are the Liquidating Trust
Beneficiaries), followed by a deemed transfer by such Liquidating Trust Beneficiaries to the
Liquidating Trust.

   5.3    Treatment of Liquidating Trust for Federal Income Tax Purposes; No Successor-
          in-Interest

       The Liquidating Trust will be established for the primary purpose of liquidating the
Liquidating Trust Assets, in accordance with Treas. Reg. § 301.7701-4(d), with no objective to
continue or engage in the conduct of a trade or business, except to the extent reasonably necessary
to, and consistent with, the liquidating purpose of the Liquidating Trust. Accordingly, the
Liquidating Trustee will, in an expeditious but orderly manner, liquidate and convert to Cash the
Liquidating Trust Assets, make timely distributions to the Liquidating Trust Beneficiaries in
accordance with the Plan and the Liquidating Trust Agreement and not unduly prolong its duration.
The Liquidating Trust will not be deemed a successor-in-interest of the Debtor for any purpose
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other than as specifically set forth herein or in the Liquidating Trust Agreement and is a separate
and distinct legal entity from the Debtor.

        The Liquidating Trust is intended to be treated as a “liquidating trust” pursuant to Treasury
Regulation § 301.7701-4(d) and as a “grantor trust” for federal income tax purposes, pursuant to
Section 671 through 679 of the Internal Revenue Code of 1986, as amended (the “IR Code”). In
the event that the Liquidating Trust shall fail or cease to qualify as a liquidating trust in accordance
with Treasury Regulations Section 301.770194(d), the Liquidating Trustee shall take such action
as he or she shall deem appropriate to have the Liquidating Trust classified as a partnership for
federal tax purposes under Treasury Regulations Section 301.7701-3 (but not a publicly traded
partnership within the meaning of Section 7704 of the IR Code), including, if necessary, creating
or converting it into a Delaware limited partnership or limited liability company that is so
classified. For federal income tax purposes, the Liquidating Trust Beneficiaries will be treated as
the grantors and owners of the Liquidating Trust and, therefore, will be responsible for the payment
of tax on their respective allocable share of the taxable income of the Liquidating Trust.

        Except as expressly provided in the Plan, the Post-Effective Date Debtor shall have no
obligation or responsibility to the Liquidating Trust and shall not be liable for any liabilities of the
Liquidating Trust. Neither the Post-Effective Date Debtor nor the Holders of Insider Claims in
Class 6 shall be Liquidating Trust Beneficiaries.

        As soon as reasonably practicable after the Effective Date, the Liquidating Trustee (to the
extent that the Liquidating Trustee deems it necessary or appropriate in his or her sole discretion)
will value the Liquidating Trust Assets based on the good faith determination of the value of such
Liquidating Trust Assets. The valuation will be used consistently by all parties (including the
Debtor, the Liquidating Trustee, and the Liquidating Trust Beneficiaries) for all federal income
tax purposes. The Bankruptcy Court will resolve any dispute regarding the valuation of the
Liquidating Trust Assets. The right and power of the Liquidating Trustee to invest the Liquidating
Trust Assets transferred to the Liquidating Trust, the proceeds thereof, or any income earned by
the Liquidating Trust, will be limited to the right and power to invest such Liquidating Trust Assets
(pending distributions in accordance with the Plan).

    5.4    Rights and Obligations of the Liquidating Trustee

        The Liquidating Trustee shall have the rights, duties and obligations set forth in the
Liquidating Trust Agreement and the Plan. Such rights, duties and obligations include, but are not
limited to, exercising control and authority over the Liquidating Trust Assets and responsibility
for liquidating and administering (or abandoning, as the case may be) the Liquidating Trust Assets
and taking actions on behalf of, and representing, the Liquidating Trust. Except for those matters
expressly reserved in the Plan for the Post-Effective Date Debtor or the Bank, the Liquidating
Trustee shall be the representative of the Estate as contemplated by Section 1123(b)(3)(B) of the
Bankruptcy Code and shall have the rights and powers of a trustee appointed under Sections 702
and 1104 of the Bankruptcy Code to act on behalf of the Estate and the Liquidating Trust with
regard to the administration of the Case and the Liquidating Trust Assets and the Liquidating
Trust. The Liquidating Trustee shall have the authority to bind the Liquidating Trust within the
limitations set forth in the Liquidating Trust Agreement, the Plan and the Confirmation Order, but
shall for all purposes hereunder be acting in the capacity of Liquidating Trustee and not

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individually. Within the limitations set forth in the Liquidating Trust Agreement and subject to
the provisions of the Plan, the responsibilities and authority of the Liquidating Trustee, shall
include, without limitation: (a) the making of Distributions to Holders of Allowed Liquidating
Trust Claims as contemplated in the Plan; (b) establishing and maintaining disputed claim reserves
to be determined in the discretion of the Liquidating Trustee; (c) conducting an analysis of the
Liquidating Trust Claims not already allowed by prior order of the Court, and prosecuting
objections thereto or settling or otherwise compromising such Liquidating Trust Claims if
necessary and appropriate in accordance with the Plan; (d) filing appropriate tax returns with
respect to the Liquidating Trust in the exercise of its fiduciary obligations; (e) retaining the
Professionals and other Persons without further order of the Bankruptcy Code, and compensating
and reimbursing the expenses of those professionals and other Persons on the terms to be agreed
to by the Liquidating Trustee and such Professionals and other Persons without further order of
the Bankruptcy Court, to the extent set forth in the Liquidation Trust Agreement; (f) taking such
actions as are necessary to prosecute, resolve or compromise, as appropriate, all Causes of Action
assigned to the Liquidating Trust; (g) opening, closing and maintaining new or existing bank
accounts, letters of credit and other financial instruments; (h) preparing and filing U.S. Trustee
Postconfirmation quarterly reports, until such time as the Bankruptcy Court enters an order (i)
dismissing the Bankruptcy Case, (ii) converting the Bankruptcy Case to a case under chapter 7 of
the Bankruptcy Code, or (iii) approving a final decree closing the Bankruptcy Case; (i) investing
Cash and other Liquidating Trust Assets in Permissible Investments or otherwise in accordance
with Bankruptcy Code section 345; (j) collecting and liquidating the Liquidating Trust Assets;
(k) asserting and enforcing all legal or equitable remedies and defenses belonging to the Debtor or
its Estate with respect to the Liquidating Trust Assets and the Liquidating Trust Claims, including,
without limitation, setoff, recoupment, and any rights under Bankruptcy Code section 502(d);
(l) taking such actions the Liquidating Trustee deems appropriate in his or her reasonable business
judgment against any Person with respect to a Liquidating Trust Claim or a Liquidating Trust Asset
and commencing any process or proceeding in the Bankruptcy Court or in any court of competent
jurisdiction in accordance with applicable laws, to the extent set forth in the Liquidating Trust
Agreement; (m) proceeding with and employing all discovery devices permitted under applicable
law, including Rule 2004 of the Bankruptcy Rules, in order to investigate any Liquidating Trust
Claims or Causes of Action; (n) asserting and/or waiving, as the Liquidating Trustee deems
appropriate, any attorney-client privilege or similar privilege belonging to the Debtor immediately
prior to the Effective Date and relating to the Liquidating Trust Assets; and (o) executing and
delivering all documents and taking such actions as are necessary and reasonable to carry out the
purposes of the Liquidating Trust and the Plan.

   5.5    Post-Confirmation Report of Liquidating Trust

       The Debtor shall file monthly operating reports for the period through the Effective Date.
The Liquidating Trustee shall file all required post-confirmation operating reports through the date
the Case is closed. The Debtor shall cooperate with the Liquidating Trustee and provide any
information required to prepare such post-confirmation reports. Any cost incurred by the Debtor
in connection therewith shall be deemed to be a Post-Effective Date Debtor Expense.




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   5.6    Dissolution of Liquidating Trust

         The Liquidating Trust will be dissolved no later than six (6) years from the Effective Date
unless the Bankruptcy Court, upon a motion filed prior to the sixth (6th) anniversary or the end of
any extension period approved by the Bankruptcy Court (the filing of which will automatically
extend the term of the Liquidating Trust pending the entry of an order by the Bankruptcy Court
granting or denying the motion), determines that a fixed period extension (not to exceed two (2)
years, together with any prior extensions, without a favorable letter ruling from the Internal
Revenue Service or opinion letter that any further extension would not adversely affect the status
of the Liquidating Trust as a liquidating trust for federal income tax purposes) is necessary to
facilitate or complete the recovery and liquidation of the Liquidating Trust Assets. After (a) the
final Distribution of the Disputed Claims Reserve and the balance of the Liquidating Trust Assets
pursuant to the Plan, and (b) the filing by or on behalf of the Liquidating Trust of a certification of
dissolution with the Bankruptcy Court in accordance with this Plan, the Liquidating Trust will be
deemed dissolved for all purposes without the necessity for any other or further actions.

   5.7     Dissolution of the Committee

        On the Effective Date, the Committee will be dissolved and the members of the Committee
shall be released and discharged from all further authority, duties, responsibilities, and obligations
arising from or related to the Bankruptcy Case and Professionals retained by the Committee shall
be released and discharged from all further authority, duties, responsibilities, and obligations
relating to the Debtor and the Bankruptcy Case; provided, however, that the foregoing shall not
apply to any matters concerning (a) any Professional Compensation Claims held or asserted by
any Professional retained by the Committee or reimbursement of any reasonable and documented
expenses of the Committee’s members incurred in their capacity as such, (b) any appeal from the
Confirmation Order, or (c) the withdrawal of the Standing Motion pursuant to Section 5.05 of the
Plan, or (d) cooperating in conveying the Estate Assets to the Bank.

   5.8     Further Transactions

        The Liquidating Trustee shall be authorized to execute, deliver, file, and/or record such
contracts, instruments, releases, indentures, and other agreements or documents, and to take such
actions as may be necessary or appropriate to effectuate and further evidence the terms and
conditions of the Plan. In order to facilitate the liquidation and distribution of the Liquidating
Trust Assets and the wind-up of the Debtor’s affairs, on the Effective Date the Liquidating Trustee
shall be deemed, by operation of law and the Confirmation Order and without need for any action
by any person affiliated with the Debtor or any officer or director of the Debtor, to hold an
irrevocable power of attorney on behalf of the Debtor and the Estate with respect to all Liquidating
Trust Assets.

   5.9     Administration of Claims

       Prior to and subsequent to the Effective Date, the Debtor shall review the Debtor Priority
Claims and audit these Claims with regard to (i) the supporting documents evidencing the Claims;
(ii) the appropriateness of the asserted priority of each Claim; (iii) the amount of the Claim; (iv)
the extent to which the Debtor originally scheduled the Claim as contingent, disputed or

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unliquidated; and (v) whether the Claim is otherwise valid, permissible, due and payable under the
Bankruptcy Code and applicable state law. Subsequent to the Effective Date, the Liquidating
Trustee shall review the Liquidating Trust Claims and audit these Claims with regard to (i) the
supporting documents evidencing the Claims; (ii) the appropriateness of the asserted priority of
each Claim; (iii) the amount of the Claim; (iv) the extent to which the Debtor originally scheduled
the Claim as contingent, disputed or unliquidated; and (v) whether the Claim is otherwise valid,
permissible, due and payable under the Bankruptcy Code and applicable state law. Following the
Effective Date, the Liquidating Trustee and the Post-Effective Date Debtor shall complete their
respective reviews of the Claims and shall initiate, file and prosecute any and all actions deemed
necessary and appropriate to dispute, disallow, object to or otherwise quantify the Claims against
the Post-Effective Date Debtor and/or its Estate. All Claims Litigation related to Debtor Priority
Claims, including actions that arise out of the amount of any such Claim, or any objection to such
a Claim, shall vest with the Post-Effective Date Debtor and shall be prosecuted by the Post-
Effective Date Debtor and/or the Bank, and any Post-Effective Date Debtor Expenses incurred in
connection therewith shall be paid as set forth in Sections 5.05 and 6.14 of the Plan. All Claims
Litigation related to Liquidating Trust Claims, including actions that arise out of the amount of
any such Claim, or any objection to such a Claim, shall vest with the Liquidating Trust and shall
be prosecuted by the Liquidating Trustee, and all expenses related thereto shall be paid from the
Liquidating Trust Expense Fund as set forth in the Plan and the Liquidating Trust Agreement. The
Post-Effective Date Debtor shall take actions regarding the administration, reconciliation and
settlement of Debtor Priority Claims, and shall object to such Claims and prosecute Claims
Litigation related to such claims, until such time as the Post-Effective Date Debtor determines that
further pursuit of litigation or actions objecting to such Claims is no longer cost efficient, and will
be of no further benefit to the Estate and its creditors, except that the Bank may also object to such
claims and prosecute Claims Litigation against such Claims. The Liquidating Trustee shall take
actions regarding the administration, reconciliation and settlement of Liquidating Claims, and shall
object to such Claims and prosecute Claims Litigation related to such claims, until such time as
the Liquidating Trustee determines that further pursuit of litigation or actions objecting to such
Claims is no longer cost efficient, and will be of no further benefit to the Estate and its creditors.
THE FAILURE TO OBJECT TO ANY CLAIM PRIOR TO THE COMMENCEMENT OF
THE HEARING ON CONFIRMATION OF THE PLAN SHALL NOT BE DEEMED TO
BE A WAIVER OF THE RIGHT TO OBJECT THEREAFTER TO SUCH CLAIM IN
WHOLE OR IN PART FOR THE PURPOSE OF DISTRIBUTION.

   5.10   Post- Effective Date Debtor Expenses

        Post-Effective Date Debtor Expenses, including Post-Effective Date Debtor Professional
Fees, shall be charged against and paid from the Fee Reserve under the OS Agreement or the Plan
Funding Reserve (but only to the extent funds in the Plan Funding Reserve are not used to pay
Confirmation Expenses). The Post-Effective Date Debtor may submit periodic statements for
Post-Effective Date Debtor Expenses incurred to the Bank for review and approval. The Bank will
have ten (10) days to object to any such statement. In the event that any such objection is received
by the Post-Effective Date Debtor and cannot be promptly resolved by the Post-Effective Date
Debtor and the Bank, the dispute will be submitted by the Post-Effective Date Debtor to the
Bankruptcy Court for adjudication following Designated Notice. Any undisputed portion of such
disputed invoice shall be promptly paid. The Bankruptcy Court will retain jurisdiction to


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adjudicate any such objection. In the event that no objection is raised to a statement within the ten
(10) day period, such statement may be promptly paid.

   5.11   Preservation of Rights of Action

        Except as otherwise expressly provided in the Plan, any rights or Causes of Action accruing
to or held by the Debtor or its Estate prior to the Effective Date shall be deemed Assets of, and
vest in, the Liquidating Trust on the Effective Date, including but not limited to those Causes of
Action specifically identified in the Disclosure Statement. The Liquidating Trustee may pursue
those Causes of Action, as deemed appropriate. The Plan, Disclosure Statement and Schedules do
not set forth an exhaustive list of all Causes of Action preserved under the Plan and vesting in the
Liquidating Trust and the failure to identify or list any particular Cause of Action therein shall not
constitute a waiver or release of such Cause of Action. Notwithstanding anything to the contrary
set forth herein, as of the Effective Date the Liquidating Trustee shall be deemed to have released
all Avoidance Actions against: (a) the Bank; and (b) any party who (i) does not hold an Insider
Claim, and (ii) provided goods or services to the Debtor in the ordinary course of the Debtor’s
business. For avoidance of doubt, Avoidance Actions against Kajima Buildings and Design,
Inc. shall not be released. All Avoidance Actions and other Causes of Action against any Creditor
holding an Objecting Insider Claim are expressly preserved. ALL CAUSES OF ACTIONS NOT
EXPRESSLY RELEASED OR WAIVED IN THE PLAN OR THE CONFIRMATION
ORDER SHALL SURVIVE CONFIRMATION, AND THE ASSERTION OF CAUSES OF
ACTIONS SHALL NOT BE BARRED OR LIMITED BY ANY ESTOPPEL, WHETHER
JUDICIAL, EQUITABLE OR OTHERWISE.

                                    ARTICLE VI
                        DISTRIBUTION TO HOLDERS OF CLAIMS

   6.1     Date of Distributions

        As soon as is reasonably practicable following the Effective Date, as determined by the
Liquidating Trustee in his or her sole discretion, the Liquidating Trustee shall use the Liquidation
Proceeds to make Distributions with respect to Allowed Liquidating Trust Claims, as and to the
extent provided for in the Plan or as ordered by the Court. Subsequent to the Effective Date, the
Liquidating Trustee shall use the Liquidation Proceeds to make Distributions, on each Distribution
Date or as soon thereafter as is reasonably practicable, with respect to Allowed Liquidating Trust
Claims as contemplated by and to the extent set forth in the Plan. The Liquidating Trustee shall
continue to make Distributions out of the Liquidation Proceeds up to and including the
Consummation Date, on which date the Liquidating Trustee will make the final Distribution under
the Plan.

   6.2     Payments by Cash

        All payments made pursuant to this Plan shall be in Cash and by any means reasonably
selected by the Liquidating Trustee or the Debtor, as applicable, including check or wire transfer.
If a Cash payment to be received by any Holder of an Allowed Claim in Class 5 on any Distribution
Date (except the final Distribution) would be $100 or less in the aggregate, notwithstanding any
contrary provision of the Plan, in the Liquidating Trustee’s sole discretion, no such payment will

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be made to such Holder, and such Cash, if applicable, shall be held for such Holder until the next
Distribution Date, at which time such Cash payment shall be made to the Holder. The Liquidating
Trustee shall include an additional amount in the Unpaid Claims Reserve for unpaid Distributions
resulting from such undistributable small amounts.

   6.3     Rounding

      Whenever any payment of a fraction of a cent would otherwise be called for, the actual
payment shall reflect a rounding of such fraction down to the nearest whole cent.

   6.4     No Interest on Claims

        Except as provided in a Final Order entered in the Case or as provided in Article V, Section
5.07 of the Plan, (a) no holder of any Unsecured Claim (except Priority Tax Claims) shall be
entitled to interest accruing on or after the Petition Date on such Claim, and (b) interest shall not
accrue or be paid upon any Disputed Claim with respect to the period from the Petition Date to the
date a final Distribution is made thereon if and after such Disputed Claim, or any part thereof,
becomes an Allowed Claim.

   6.5     Effect of Preconfirmation Distributions

        Nothing in the Plan shall be deemed to entitle the Holder of a Claim that received, prior to
the Effective Date, full or partial payment of such Holder’s Claim, by way of settlement or
otherwise, pursuant to a Final Order of the Bankruptcy Court, provision of the Bankruptcy Code,
or other means, to receive a duplicate payment in full or in part pursuant to the Plan; and all such
full or partial payments shall be deemed to be payments made under the Plan for purposes of
satisfying the obligations of the Debtor or the Liquidating Trustee to such Holder under the Plan.

   6.6     Disputed Claims

        If a Proof of Claim is filed by any Creditor asserting a Claim for the same obligation which
had previously been listed for such Creditor by the Debtor on the Schedules, then the Scheduled
Claim shall be deemed a Disallowed Claim without the need for the Debtor, the Liquidating
Trustee or any party in interest to file an objection to such Scheduled Claim. The Claim asserted
in the Proof of Claim shall be deemed to replace such Scheduled Claim and shall ultimately
become an Allowed Claim, a Disputed Claim or a Disallowed Claim pursuant to the procedures
set forth in this Plan.

        Notwithstanding any other provisions of the Plan, no payments or distribution shall be
made on account of a Disputed Claim until and unless such Claim becomes an Allowed Claim. In
lieu of distributions under the Plan to holders of Disputed Debtor Priority Claims, a Disputed
Claims Reserve shall be maintained by the Post-Effective Date Debtor in escrow with Truist Bank
for payment of any Disputed Debtor Priority Claim which becomes an Allowed Claim. In lieu of
distributions under the Plan to holders of Disputed Liquidating Trust Claims, a Disputed Claims
Reserve shall be maintained by the Liquidating Trustee for payment of any Disputed Liquidating
Trust Claim which becomes an Allowed Claim. Distributions on account of any Disputed Claim


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that has become an Allowed Claim shall be made within the time periods provided above in Article
V, or as soon as is reasonably practicable following allowance of the Claim.

   6.7     Procedures for Resolving Disputed Claims

        Subsequent to the Effective Date, the Debtor, with the express written consent of the
Bank, shall have the authority to settle and resolve a Disputed Debtor Priority Claim that was
originally asserted in an amount equal to or less than One Hundred Fifty Thousand Dollars
($150,000.00) upon such terms and conditions as the Debtor deems appropriate and in the best
interests of the Estate. Any such compromise and settlement shall be deemed final and binding
upon all parties in interest in the Case. The Debtor shall not have any obligation to provide
notice to or file and serve pleadings upon any such parties in interest, and shall not have any
requirement to obtain Court approval, in connection with compromising these Claims

         Subsequent to the Effective Date, the Liquidating Trustee shall have the authority to
settle and resolve a Disputed Liquidating Trust Claim that was originally asserted in an amount
equal to or less than One Hundred Fifty Thousand Dollars ($150,000.00) upon such terms and
conditions as the Liquidating Trustee deems appropriate and in the best interests of the Estate.
Any such compromise and settlement shall be deemed final and binding upon all parties in
interest in the Case. The Liquidating Trustee shall not have any obligation to provide notice to
or file and serve pleadings upon any such parties in interest, and shall not have any requirement
to obtain Court approval, in connection with compromising these Claims.

        With respect to any Disputed Debtor Priority Claim that was originally asserted in an
amount that exceeds One Hundred Fifty Thousand Dollars ($150,000.00), the Post-Effective
Date Debtor, with the express written consent of the Bank, shall have the authority to
compromise and settle any such Claim on such terms as the Post-Effective Date Debtor deems
appropriate and in the best interests of the Estate, subject to providing Designated Notice of any
such proposed compromise and a reasonable opportunity to object thereto. If a party in interest
files a written objection with the Court in the Case with respect to any proposed compromise of
any Disputed Debtor Priority Claim, and serves a copy of said objection upon the Post-Effective
Date Debtor and its counsel, within ten (10) days from the service of Designated Notice of the
proposed compromise, then the Court shall schedule a hearing with respect to said objection. If
no objection is timely filed and served, the Post-Effective Date Debtor may compromise and
settle any Disputed Debtor Priority Claim without further authorization. The Post-Effective Date
Debtor may file motions which seek to compromise more than one Debtor Priority Claim.

        With respect to any Disputed Liquidating Trust Claim that was originally asserted in an
amount that exceeds One Hundred Fifty Thousand Dollars ($150,000.00), the Liquidating
Trustee shall have the authority to compromise and settle any such Claim on such terms as the
Liquidating Trustee deems appropriate and in the best interests of the Estate, subject to providing
Designated Notice of any such proposed compromise and a reasonable opportunity to object
thereto. If a party in interest files a written objection with the Court in the Case with respect to
any proposed compromise of any Disputed Liquidating Trust Claim, and serves a copy of said
objection upon the Liquidating Trustee and his or her counsel, within ten (10) days from the
service of Designated Notice of the proposed compromise, then the Court shall schedule a
hearing with respect to said objection. If no objection is timely filed and served, the Liquidating

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Trustee may compromise and settle any Disputed Liquidating Trust Claim without further
authorization. The Liquidating Trustee may file motions which seek to compromise more than
one Liquidating Trust Claim.

   6.8     Unclaimed Property

        Unclaimed Property shall be held in an “Unpaid Claims Reserve” to be held for the benefit
of the holders of Allowed Liquidating Trust Claims entitled thereto under the terms of the Plan.
For a period of 180 days following the first Distribution to Holders of Allowed Liquidating Trust
Claims (said period being hereinafter referred to as the “Claiming Period”), Unclaimed Property
shall be held in the Unpaid Claims Reserve solely for the benefit of the Holders of Allowed
Liquidating Trust Claims which have failed to claim such property. During the Claiming Period,
Unclaimed Property due the Holder of an Allowed Liquidating Trust Claim shall be released from
the Unpaid Claims Reserve and delivered to such holder upon presentation of proper proof by such
holder of its entitlement thereto. In the event that there is Unclaimed Property in the Unpaid
Claims Reserve with regard to any Liquidating Trust Claim, the Liquidating Trustee shall, until
such Unclaimed Property is claimed or the Claiming Period with regard to the holder of such Claim
has expired, make all subsequent Distributions due with regard to such Claim to the Unpaid Claims
Reserve. After the Claiming Period with regard to such holder has expired, no subsequent
Distributions shall be made on account of such Claim, and such Claim shall be treated as being
disallowed, waived, and satisfied. At the end of the Claiming Period, the Holder of an Allowed
Liquidating Trust Claim theretofore entitled to Unclaimed Property shall cease to be entitled
thereto and the Unclaimed Property shall be Liquidation Proceeds. The Unpaid Claims Reserve
may be (but shall not be required to be) maintained as an interest-bearing account. All interest
earned thereon shall be Liquidation Proceeds, and no claimant entitled to funds from the Unpaid
Claims Reserve shall be entitled to interest with regard to the amounts due to such claimant.

                              ARTICLE VII
                EXECUTORY CONTRACTS AND UNEXPIRED LEASES

   7.1     Rejection of Executory Contracts and Unexpired Leases

        Any executory contract or unexpired lease to which the Debtor was a party that has not
been assumed or rejected by the Debtor pursuant to a Final Order of the Court as of the Effective
Date (unless a motion to assume or reject such executory contract or unexpired lease is pending as
of the Effective Date) shall be deemed rejected by the Debtor on the Effective Date. The
Confirmation Order will constitute an order of the Bankruptcy Court, pursuant to Section 365 of
the Bankruptcy Code, approving the rejection of Executory Contracts and Unexpired Leases which
do not constitute Assumed Contracts. Notwithstanding anything to the contrary in the Plan or
Disclosure Statement, (a) all insurance policies in force as of the Effective Date shall remain in
effect following the Effective Date unless and until rejected by separate motion and/or terminated
in accordance with their terms, and (b) the OS Agreement shall remain in effect until terminated
under the terms therein.




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   7.2         Approval of Rejection of Executory Contracts and Unexpired Leases

        Entry of the Confirmation Order shall, subject to and upon the occurrence of the Effective
Date, constitute the approval, pursuant to Sections 365(a) and 1123(b)(2) of the Bankruptcy Code,
of the rejection of the Executory Contracts and Unexpired Leases rejected pursuant to Article X,
Section 10.1 of the Plan.

   7.3         Inclusiveness

        Each Executory Contract and Unexpired Lease to be rejected pursuant to the terms of the
Plan shall include all modifications, amendments, supplements, restatements, or other agreements
made directly or indirectly by any agreement, instrument, or other document that in any manner
affect such Executory Contract or Unexpired Lease.

   7.4         Claims under Rejected Executory Contracts and Unexpired Leases

         Claims arising from the rejection of any executory contracts or unexpired leases shall be
filed within thirty (30) days following the rejection and shall be treated as Class 5 Claims to the
extent Allowed. Any person seeking to assert such a Claim who fails to file a proof of claim within
this thirty (30) day period shall be deemed to have waived said Claim, and it shall be forever barred
from asserting a Claim based on such rejection.

                                   ARTICLE VIII
                  CONDITIONS PRECEDENT TO EFFECTIVENESS OF PLAN

        8.1      Entry of the Confirmation Order, effectiveness of Confirmation of the Plan, and
the obligation of the Debtor to consummate this Plan are conditioned upon the Bankruptcy Court
having made findings and determinations regarding the Plan as will enable the entry of the
Confirmation Order in a manner consistent with the provisions of the Plan and in form and
substance satisfactory to the Debtor, the Bank and the Committee.

         8.2      The Effective Date will not occur and the Plan will not be consummated until:

         (a)     The Confirmation Order shall have been entered by the Bankruptcy Court and there
         shall not be a stay or injunction (or similar prohibition) in effect with respect thereto.

         (b)    All requisite filings with governmental authorities and third parties shall have
         become effective, and all governmental authorities and third parties shall have approved or
         consented to the Plan, to the extent required.

         (c)     All documents contemplated by the Plan to be executed and delivered on or before
         the Effective Date shall have been executed and delivered.

         (d)  The Liquidating Trustee shall have been designated by the Committee and shall be
         empowered to take all actions as contemplated by the Liquidating Trust Agreement.

         (e)      The aggregate amount of Confirmation Expenses shall not exceed $3,208,500

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         unless the Bank consents in writing to waive this condition.

        Other than condition (a) above, each condition precedent may be waived or modified by
the Debtor, with the written consent of the Bank and the Committee, without further Court
approval. If the Effective Date does not occur by December 15, 2020, the Plan shall be void and
of no effect, unless the Debtor, the Bank, and the Committee file with the Court a written
stipulation agreeing to extend this deadline.

                                ARTICLE IX
             VOTING ON THE PLAN AND THE CONFIRMATION PROCESS

   9.1      Classes Entitled to Vote

        Only a Holder of a Claim classified in an Impaired Class is entitled to vote on the Plan.
Under Section 1124 of the Bankruptcy Code, a Class of Claims or Interests is “impaired” by the
Plan if the legal, equitable or contractual rights attaching to the Claims or Interests of that Class
are modified. Modification for purposes of determining impairment, however, does not include
the curing of defaults and the reinstating of maturity.

       In order to have a Claim entitled to vote, a Claimant must have (1) timely filed a Proof of
Claim or (2) if no Proof of Claim was filed, been listed in the Schedules as having a Claim that is
not contingent, unliquidated or disputed. If such a Claim was scheduled as contingent,
unliquidated or disputed, and if Claimant does not file proof of such Claim on or before the Bar
Date, or if such Claim is the subject of an objection, Claimant does not have a Claim, entitled to
vote, and will not participate in any Distributions under the Plan until such time as the Claim
becomes an Allowed Claim.

       The Claims and Interests of the Debtor are divided by the Plan into Classes 1 through 7.
The Claims in Classes 1 and 2 are unimpaired. Consequently, the Holders of such Claims and are
conclusively presumed to have accepted the Plan and will not be entitled to vote on the Plan. The
Claims and Interests in Classes 3 through 7 are impaired and may vote on the Plan.

   9.2          Impairment Controversies

        If a controversy arises as to whether any Claim or Equity Interest, or any Class of Claims
or Class of Equity Interests, is Impaired under the Plan, such Claim, Equity Interest, or Class shall
be treated as specified in the Plan unless the Bankruptcy Court shall determine such controversy
upon motion of the party challenging the characterization of a particular Claim or Equity Interest,
or a particular Class of Claims or Class of Equity Interests, under the Plan.

   9.3      Voting

       If a Claim is the subject of an objection or an adversary proceeding prior to the deadline
for submission of votes and the Holder of the Claim has not filed a motion seeking relief under




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Rule 3018 of the Bankruptcy Rules, the Holder shall not be entitled to vote to accept or reject the
Plan.

   9.4     Voting Instructions

        Each Holder of an Allowed Claim or Interest in a voting Class may cast its vote to accept
or reject the Plan by completing, dating, signing and returning the Ballot accompanying this
Disclosure Statement to:

              Valmiera Glass Ballot Processing Center
              c/o KCC
              222 N. Pacific Coast Hwy., Ste. 300
              El Segundo, CA 90245
With a copy to:

               Ashley R. Ray, Esq.
               Scroggins & Williamson, P.C.
               4401 Northside Parkway
               Suite 450
               Atlanta, Georgia 30327

        Any Ballot received which does not indicate either an acceptance or rejection of the Plan
shall be deemed to constitute an acceptance of the Plan. Ballots submitted by facsimile will not
be accepted. A Ballot shall not constitute a Proof of Claim or Proof of Interest or an amendment
to a Proof of Claim or Proof of Interest.

       If a Creditor has a Claim in more than one Class under the Plan, that Creditor should receive
a separate Ballot for each such claim. If Claimant needs additional Ballots, or believes it has a
Claim that is in Classes 3 through 7 and did not receive a Ballot, please contact the Debtor’s
counsel, Ashley R. Ray, at the address set forth above, sufficiently in advance of the Voting
Deadline to obtain the Ballot and return the Ballot before the Voting Deadline.

   9.5     Requirements of Confirmation

         The Bankruptcy Court will confirm the Plan only if it determines that all of the
requirements of the Bankruptcy Code have been met. The Bankruptcy Code requires, among other
things, that (i) the Plan be accepted by at least one impaired Class, (ii) the Bankruptcy Court make
a determination that the Plan is in the “best interests” of all Holders of Claims and Interests (that
is, dissenting Creditors and Interest Holders will receive at least as much under the Plan as they
would receive in a liquidation under Chapter 7 of the Bankruptcy Code), (iii) the Bankruptcy Court
make a determination that the Plan is feasible, and (iv) the Plan has classified Claims and Interests
in a permissible manner. In order to confirm the Plan, the Bankruptcy Court must find that all of
these and certain other requirements have been met. Thus, even if the requisite vote is achieved
for each impaired Class, the Bankruptcy Court must make independent findings regarding the
Plan’s conformity with these requirements of the Bankruptcy Code before it may confirm the Plan.
Additionally, if the requisite vote will not be achieved for each impaired Class, the Bankruptcy
Court must also make independent findings regarding the Plan’s conformity with the requirements

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of Section 1129(b) of the Bankruptcy Code. The various statutory requirements are discussed
below.

          (a) Acceptance by at Least One Impaired Class

         In order for the Plan to be confirmed, the Plan must be accepted by at least one impaired
Class that is entitled to vote on the Plan. A Class of Impaired Claims will have accepted the Plan
if at least two-thirds in amount and more than one-half in number of the Claims actually voting in
the Class have accepted it.

          (b) Best Interests Test

        The Plan cannot be confirmed unless the Bankruptcy Court determines that the Plan is in
the “best interests” of the Debtor’s Creditors and Interest Holders. The Plan will be deemed to
have satisfied the “best interests” test if the Plan provides to each dissenting or nonvoting member
of each impaired Class a recovery that has a value that is at least equal to the distribution that such
member would receive if the assets of the Debtor were liquidated on the Effective Date in a
hypothetical case under Chapter 7 of the Bankruptcy Code by a Chapter 7 trustee. If all members
of an impaired Class of Claims or Equity Interest Holders vote to accept the Plan, the “best
interests” test does not apply with respect to that Class.

        In applying the “best interests” test, the Bankruptcy Court would ascertain the hypothetical
recoveries in a Chapter 7 liquidation to the Debtor’s Creditors and Interest Holders. These
hypothetical Chapter 7 liquidation recoveries would then be compared with the distributions
offered to each impaired Class of Claims or Interests under the Plan in order to determine if the
Plan satisfies the “best interests” test.

        In applying the “best interests” test, it is likely that Claims and Interests in the Chapter 7
case would not be classified in the same manner that such Claims and Interests are classified under
the Plan. In the absence of a contrary determination by the Bankruptcy Court, all pre-bankruptcy
Unsecured Claims which have the same rights upon liquidation would be treated as one Class for
the purposes of determining the potential distribution of the liquidation proceeds resulting from
the Debtor’s Chapter 7 case. The distributions from the liquidation proceeds would be calculated
ratably according to the amount of the Claim held by each Creditor. The Debtor, as Plan
Proponent, believes that the most likely outcome of liquidation proceedings under Chapter 7 would
be the application of the rule of absolute priority of distributions. Under that rule, no junior
Creditor receives any distribution until the Allowed Claims of all senior Creditors are paid in full,
and no Equity Interest Holder receives any distribution until the Allowed Claims of all Creditors
are paid in full.

        As discussed in more detail in Article XII of this Disclosure Statement, the Debtor’s
analysis indicates that confirmation of the Plan will provide each Creditor and Interest Holder
holding a Claim or Interest in an impaired Class with a recovery that is at least equal to the recovery
that such Creditor or Interest Holder would receive pursuant to a liquidation and distribution of
the Assets under Chapter 7 of the Bankruptcy Code.




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           (c) Feasibility of the Plan

        In order for the Plan to be confirmed, the Bankruptcy Court must determine that the Plan
is feasible; that is, as a practical matter, that the Debtor will be able to meet its obligations under
the Plan on a timely basis and according to its terms. The Debtor believes that the Plan is feasible
as a liquidating plan.

           (d) Classification of Claims

       The Debtor believes that the Plan meets the classification requirements of the Bankruptcy
Code, which require that a Plan of Liquidation place each Claim or Interest in a Class with other
Claims or Interests that are “substantially similar.”

   9.6     Additional Requirements of Section 1129(b) of the Bankruptcy Code

         In the event the Plan does not satisfy the requirements of Section 1129(a) of the Bankruptcy
Code, the Debtor will seek confirmation of the Plan pursuant to the so-called “cramdown”
provisions of Section 1129(b) of the Bankruptcy Code. Pursuant to Section 1129(b), the
Bankruptcy Court must determine whether the Plan is fair and equitable and does not discriminate
unfairly against each impaired Class of Claims or Interests that has not accepted the Plan. The
Plan will not discriminate unfairly if no Class receives more than it is legally entitled to receive
for its Claims. “Fair and equitable” has different meanings for Secured Claims, Unsecured Claims
and Equity Interests.

        With respect to a Secured Claim, “fair and equitable” means either (i) the impaired Secured
Creditor retains its liens to the extent of its Allowed Secured Claim and receives deferred Cash
payments at least equal to the allowed amount of its Claim with a present value as of the Effective
Date of the Plan at least equal to the value of its interest in the property securing its liens, (ii) if
property subject to the lien of the impaired Secured Creditor is sold free and clear of its lien, the
impaired Secured Creditor receives a lien attaching to the proceeds of the sale, or (iii) the impaired
Secured Creditor realizes the “indubitable equivalent” of its Claim under the Plan. Under certain
circumstances, a Secured Creditor is entitled under Section 1111(b) of the Bankruptcy Code to
elect to have its entire Claim, including any deficiency, treated as a Secured Claim.

         With respect to an Unsecured Claim, “fair and equitable” means either (i) the impaired
Unsecured Creditor receives property of a value equal to the amount of its Allowed Claim, or
(ii) the Holders of Claims or Interests that are junior to the Claims of the dissenting Class will not
receive any property under the Plan.

         With respect to a Class of Equity Interests, “fair and equitable” means either (i) each Holder
of an Interest of such Class receives or retains on account of such Interest property with a value
equal to the greater of the allowed amount of any fixed liquidation preference to which such Holder
is entitled, any fixed redemption price to which such Holder is entitled or the value of such Interest,
or (ii) the Holder of any Interest that is junior to the Interests of such Class will not receive or
retain any property on account of such junior Interest.

        The Debtor believes the Plan meets the fair and equitable test with respect to each Holder
of an impaired Claim or Interest.

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   9.7     Objections to Confirmation

        As will be set forth in the Order Approving Disclosure Statement and Notice of
Confirmation Hearing, any objections to confirmation of the Plan must be in writing, must set forth
the objector’s standing to assert any such objection, and must be filed with the Bankruptcy Court
and served on counsel for the Debtor, counsel for the Bank and counsel for the Committee. The
Order Approving Disclosure Statement and Notice of Confirmation of Hearing will contain all
relevant procedures relating to the submission of objections to confirmation and should be
reviewed in its entirety by any party who has an objection to confirmation.

   9.8     Confirmation of Plan Without Acceptance of All Impaired Classes

        Even if one or more impaired Classes do not vote to accept the Plan, the Bankruptcy Court
may, pursuant to Section 1129(b) of the Bankruptcy Code, confirm the Plan without the acceptance
of all impaired Classes. Confirmation under Section 1129(b) requires that the Plan be fair and
equitable with respect to each impaired Class of Claims that has not accepted the Plan. The Plan
proponents reserve their right to seek Confirmation of the Plan under Section 1129(b) if one or
more Classes of Impaired Claims does not accept or is deemed not to have accepted the Plan.

   9.9     Hearing on Confirmation of the Plan

        Section 1128 of the Bankruptcy Code requires the Bankruptcy Court, after notice, to hold
a hearing on confirmation of the Plan. At that time, the Debtor will present the results of the vote
by each impaired Class of Creditors entitled to vote in favor of or in opposition to the Plan. The
Bankruptcy Court will consider whether the requirements for confirmation of the Plan under the
Bankruptcy Code have been satisfied, as well as any objections to the Plan that are timely filed.
Any Creditor may object to the confirmation of the Plan, regardless of whether it is entitled to vote
on the Plan.

                                 ARTICLE X
                 DISCHARGE, RELEASE, LIMITATIONS OF LIABILITY,
                          AND GENERAL INJUNCTION

        ARTICLE VII OF THE PLAN CONTAINS CERTAIN PROVISIONS,
DESCRIBED BELOW, WHICH, AMONG OTHER THINGS: (A) ENJOIN CREDITORS
HOLDING CLAIMS AGAINST THE DEBTOR FROM COMMENCING OR
CONTINUING ANY ACTION OR PROCEEDING ASSERTING SUCH CLAIMS
AGAINST THE DEBTOR, THE ESTATE OR THE LIQUIDATING TRUST OTHER
THAN TO ENFORCE RIGHTS UNDER THE PLAN; (B) EXCULPATE AND RELEASE
THE DEBTOR, ITS OFFICERS AND PROFESSIONALS, AND THE COMMITTEE, ITS
MEMBERS AND PROFESSIONALS, FROM LIABILITY FOR ACTS OR OMISSIONS
IN CONNECTION WITH THE DEBTOR, THE DEBTOR’S PROPERTY, THE
DEBTOR’S BUSINESS, THE CASE OR THE PLAN, OTHER THAN ARISING FROM
FRAUD, WILLFUL MISCONDUCT OR GROSS NEGLIGENCE; (C) RELEASE AND
ENJOIN THE ASSERTION OF CLAIMS AND CAUSES OF ACTION AGAINST THE
INSIDER RELEASED PARTIES WHICH ARISE FROM OR RELATE TO THE
DEBTOR, THE CASE, ANY PROPERTY OF THE DEBTOR, THE BUSINESS OR

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OPERATIONS OF THE DEBTOR, ANY PLAN DOCUMENTS, THE PLAN, OR ANY OF
THE TRANSACTIONS CONTEMPLATED THEREBY; AND (D) RELEASE AND
ENJOIN THE ASSERTION OF CLAIMS AND CAUSES OF ACTION AGAINST THE
BANK WHICH ARISE FROM OR RELATE TO THE DEBTOR, THE CASE, ANY
PROPERTY OF THE DEBTOR, THE BUSINESS OR OPERATIONS OF THE DEBTOR,
ANY PLAN DOCUMENTS, THE PLAN, OR ANY OF THE TRANSACTIONS
CONTEMPLATED THEREBY. THESE PROVISIONS ARE NECESSARY FOR THE
SUCCESS OF THE PLAN AND ARE FAIR AND EQUITABLE UNDER ALL THE FACTS
AND CIRCUMSTANCES. IN FACT, ABSENT THE RELEASES AND INJUNCTIVE
RELIEF PROVIDED FOR THE INSIDER RELEASED PARTIES AND THE BANK, THE
DEBTOR WOULD BE UNABLE TO MOVE FORWARD WITH A CHAPTER 11 PLAN
AT THIS TIME. IN SUCH EVENT, AS DISCUSSED IN MORE DETAIL AT ARTICLE
XII BELOW, ANY RECOVERY IN THIS CASE FOR THE HOLDERS OF UNSECURED
CLAIMS WOULD BE HIGHLY UNCERTAIN AND WOULD ONLY COME
FOLLOWING SUBSTANTIAL DELAY AND LITIGATION EXPENSE THAT WOULD
REDUCE FURTHER THE ULTIMATE RETURN TO CREDITORS.

   10.1   General Injunction

     PURSUANT TO SECTIONS 105, 1123, 1129 AND 1141 OF THE BANKRUPTCY
CODE, IN ORDER TO PRESERVE AND IMPLEMENT THE VARIOUS
TRANSACTIONS CONTEMPLATED BY AND PROVIDED FOR IN THE PLAN, AS OF
THE EFFECTIVE DATE AND THROUGH THE CONSUMMATION DATE, EXCEPT AS
OTHERWISE EXPRESSLY PROVIDED IN THE PLAN OR IN THE CONFIRMATION
ORDER, ALL PERSONS OR ENTITIES THAT HAVE HELD, CURRENTLY HOLD OR
MAY HOLD A CLAIM, DEBT, OR LIABILITY AGAINST THE DEBTOR, THE ESTATE
OR ANY OF THEIR RESPECTIVE PROPERTY, ARE AND SHALL BE ENJOINED AND
BARRED TO THE FULLEST EXTENT PERMITTED BY LAW FROM TAKING ANY OF
THE FOLLOWING ACTIONS ON ACCOUNT OF ANY SUCH CLAIMS, DEBTS, OR
LIABILITIES, OTHER THAN ACTIONS BROUGHT TO ENFORCE ANY RIGHTS OR
OBLIGATIONS UNDER THE PLAN OR THE PLAN DOCUMENTS:                 (A)
COMMENCING OR CONTINUING IN ANY MANNER ANY ACTION OR OTHER
PROCEEDING AGAINST THE LIQUIDATION TRUST, THE DEBTOR, THE ESTATE,
OR THEIR RESPECTIVE PROPERTY; (B) ENFORCING, ATTACHING, COLLECTING
OR RECOVERING IN ANY MANNER ANY JUDGMENT, AWARD, DECREE OR
ORDER AGAINST THE LIQUIDATING TRUST, THE DEBTOR, THE ESTATE, OR
THEIR RESPECTIVE PROPERTY; (C) CREATING, PERFECTING OR ENFORCING
ANY LIEN OR ENCUMBRANCE AGAINST THE LIQUIDATING TRUST, THE
DEBTOR, THE ESTATE, OR THEIR RESPECTIVE PROPERTY; (D) ASSERTING A
SETOFF, RIGHT OF SUBROGATION OR RECOUPMENT OF ANY KIND AGAINST
ANY DEBT, LIABILITY OR OBLIGATION DUE TO THE LIQUIDATING TRUST, THE
DEBTOR OR THE ESTATE; (E) COMMENCING OR CONTINUING, IN ANY MANNER
OR IN ANY PLACE, ANY ACTION THAT DOES NOT COMPLY WITH OR IS
INCONSISTENT WITH THE PROVISIONS OF THE PLAN OR THE CONFIRMATION
ORDER; OR (F) INTERFERING WITH OR IN ANY MANNER WHATSOEVER
DISTURBING THE RIGHTS AND REMEDIES OF THE LIQUIDATING TRUST, THE
DEBTOR OR THE ESTATE UNDER THE PLAN AND THE PLAN DOCUMENTS AND

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THE OTHER DOCUMENTS EXECUTED IN CONNECTION THEREWITH. THE
LIQUIDATING TRUSTEE SHALL HAVE THE RIGHT TO INDEPENDENTLY SEEK
ENFORCEMENT OF THIS GENERAL INJUNCTION PROVISION. THIS GENERAL
INJUNCTION PROVISION IS AN INTEGRAL PART OF THE PLAN AND IS
ESSENTIAL TO ITS IMPLEMENTATION. NOTWITHSTANDING ANYTHING TO THE
CONTRARY CONTAINED HEREIN OR IN THE PLAN, THE PROVISIONS OF ARTICLE
VII, SECTION 7.01 OF THE PLAN SHALL NOT RELEASE, OR BE DEEMED A RELEASE
OF, ANY OF THE CAUSES OF ACTION.

   10.2   Exculpation From Liability

      THE DEBTOR, ITS CURRENT OFFICERS, AND ITS PROFESSIONALS
(ACTING IN SUCH CAPACITY), THE COMMITTEE AND ITS PROFESSIONALS
(ACTING IN SUCH CAPACITY), THE MEMBERS OF THE COMMITTEE AND THEIR
PROFESSIONALS (ACTING IN SUCH CAPACITY), AND THE BANK AND ITS
PROFESSIONALS (ACTING IN SUCH CAPACITY) (COLLECTIVELY, THE
“EXCULPATED PARTIES”) SHALL NEITHER HAVE NOR INCUR ANY LIABILITY
WHATSOEVER TO ANY PERSON OR ENTITY FOR ANY ACT TAKEN OR OMITTED
TO BE TAKEN IN GOOD FAITH IN CONNECTION WITH OR RELATED TO THE
FORMULATION, PREPARATION, DISSEMINATION, OR CONFIRMATION OF THE
PLAN, THE DISCLOSURE STATEMENT, ANY PLAN DOCUMENT, OR ANY
CONTRACT, INSTRUMENT, RELEASE, OR OTHER AGREEMENT OR DOCUMENT
CREATED OR ENTERED INTO, OR ANY OTHER ACT TAKEN OR OMITTED TO BE
TAKEN, IN CONNECTION WITH THE PLAN OR THE CASE, IN EACH CASE FOR
THE PERIOD ON AND AFTER THE PETITION DATE AND THROUGH THE
EFFECTIVE DATE; PROVIDED, HOWEVER, THAT THIS EXCULPATION FROM
LIABILITY PROVISION SHALL NOT BE APPLICABLE TO ANY LIABILITY FOUND
BY A COURT OF COMPETENT JURISDICTION TO HAVE RESULTED FROM FRAUD
OR THE WILLFUL MISCONDUCT OR GROSS NEGLIGENCE OF ANY SUCH PARTY.
THE RIGHTS GRANTED UNDER ARTICLE VII, SECTION 7.02 OF THE PLAN ARE
CUMULATIVE WITH (AND NOT RESTRICTIVE OF) ANY AND ALL RIGHTS,
REMEDIES, AND BENEFITS THAT THE EXCULPATED PARTIES HAVE OR OBTAIN
PURSUANT TO ANY PROVISION OF THE BANKRUPTCY CODE OR OTHER
APPLICABLE LAW. IN FURTHERANCE OF THE FOREGOING, THE EXCULPATED
PARTIES SHALL HAVE THE FULLEST PROTECTION AFFORDED UNDER SECTION
1125(E) OF THE BANKRUPTCY CODE AND ALL APPLICABLE LAW FROM
LIABILITY FOR VIOLATION OF ANY APPLICABLE LAW, RULE OR REGULATION
GOVERNING THE SOLICITATION OF ACCEPTANCE OR REJECTION OF A PLAN
OR THE OFFER, ISSUANCE, SALE OR PURCHASE OF SECURITIES. THIS
EXCULPATION FROM LIABILITY PROVISION IS AN INTEGRAL PART OF THE
PLAN AND IS ESSENTIAL TO ITS IMPLEMENTATION. NOTWITHSTANDING
ANYTHING TO THE CONTRARY CONTAINED HEREIN, THE PROVISIONS OF
ARTICLE VII, SECTION 7.02 OF THE PLAN SHALL NOT RELEASE, OR BE DEEMED
A RELEASE OF, ANY OF THE CAUSES OF ACTION.




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   10.3   Release of Exculpated Parties

      ON THE EFFECTIVE DATE, THE EXCULPATED PARTIES SHALL BE
UNCONDITIONALLY AND ARE HEREBY DEEMED TO BE UNCONDITIONALLY
RELEASED FROM ANY AND ALL CLAIMS, OBLIGATIONS, SUITS, JUDGMENTS,
DAMAGES, LOSSES, RIGHTS, REMEDIES, CAUSES OF ACTION, CHARGES, COSTS,
DEBTS, INDEBTEDNESS, OR LIABILITIES WHATSOEVER, WHETHER KNOWN OR
UNKNOWN, FORESEEN OR UNFORESEEN, EXISTING OR HEREAFTER ARISING,
IN LAW, EQUITY OR OTHERWISE, BASED IN WHOLE OR IN PART UPON ANY ACT
OR OMISSION, TRANSACTION, EVENT OR OTHER OCCURRENCE TAKING
PLACE BETWEEN THE PETITION DATE AND THE EFFECTIVE DATE, WHICH IS
IN ANY WAY RELATING TO THE DEBTOR, THE CASE, ANY PROPERTY OF THE
DEBTOR, THE BUSINESS OR OPERATIONS OF THE DEBTOR, ANY PLAN
DOCUMENTS, THE PLAN, OR ANY OF THE TRANSACTIONS CONTEMPLATED
THEREBY; PROVIDED, HOWEVER, THAT THIS RELEASE PROVISION SHALL NOT
BE APPLICABLE TO ANY LIABILITY FOUND BY A COURT OF COMPETENT
JURISDICTION TO HAVE RESULTED FROM FRAUD OR THE WILLFUL
MISCONDUCT OR GROSS NEGLIGENCE OF ANY SUCH EXCULPATED PARTY.
THE CONFIRMATION ORDER SHALL ENJOIN THE PROSECUTION BY ANY
PERSON OR ENTITY, WHETHER DIRECTLY, DERIVATIVELY OR OTHERWISE, OF
ANY CLAIM, OBLIGATION, SUIT, JUDGMENT, DAMAGE, LOSS, RIGHT, REMEDY,
CAUSE OF ACTION, CHARGE, COST, DEBT, INDEBTEDNESS, OR LIABILITY
WHICH AROSE OR ACCRUED DURING SUCH PERIOD OR WAS OR COULD HAVE
BEEN ASSERTED AGAINST ANY OF THE EXCULPATED PARTIES, EXCEPT AS
OTHERWISE PROVIDED IN THE PLAN OR IN THE CONFIRMATION ORDER.
EACH OF THE EXCULPATED PARTIES SHALL HAVE THE RIGHT TO
INDEPENDENTLY SEEK ENFORCEMENT OF THIS RELEASE PROVISION. THIS
RELEASE PROVISION IS AN INTEGRAL PART OF THE PLAN AND IS ESSENTIAL
TO ITS IMPLEMENTATION.        NOTWITHSTANDING ANYTHING TO THE
CONTRARY CONTAINED HEREIN, THE PROVISIONS OF ARTICLE VII, SECTION
7.03 OF THE PLAN SHALL NOT RELEASE, OR BE DEEMED A RELEASE OF, ANY OF
THE CAUSES OF ACTION.

   10.4   Release of Non-Objecting Insiders

     IN EXCHANGE FOR THE CONSIDERATION BEING PROVIDED UNDER THE
PLAN BY THE INSIDER RELEASED PARTIES, AS OF THE EFFECTIVE DATE ALL
INSIDER RELEASED PARTIES SHALL BE UNCONDITIONALLY AND ARE HEREBY
DEEMED TO BE UNCONDITIONALLY RELEASED FROM ANY AND ALL CLAIMS,
OBLIGATIONS, SUITS, JUDGMENTS, DAMAGES, LOSSES, RIGHTS, REMEDIES,
CAUSES OF ACTION, CHARGES, COSTS, DEBTS, INDEBTEDNESS, OR LIABILITIES
WHATSOEVER, WHETHER KNOWN OR UNKNOWN, FORESEEN OR
UNFORESEEN, EXISTING OR HEREAFTER ARISING, IN LAW, EQUITY OR
OTHERWISE, BASED IN WHOLE OR IN PART UPON ANY ACT OR OMISSION,
TRANSACTION, EVENT OR OTHER OCCURRENCE TAKING PLACE PRIOR TO
THE EFFECTIVE DATE, WHICH IS IN ANY WAY RELATING TO THE DEBTOR, THE
CASE, ANY PROPERTY OF THE DEBTOR, THE BUSINESS OR OPERATIONS OF THE

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DEBTOR, ANY PLAN DOCUMENTS, THE PLAN, OR ANY OF THE TRANSACTIONS
CONTEMPLATED THEREBY. THE CONFIRMATION ORDER SHALL ENJOIN THE
PROSECUTION BY ANY PERSON OR ENTITY, WHETHER DIRECTLY,
DERIVATIVELY OR OTHERWISE, OF ANY CLAIM, OBLIGATION, SUIT,
JUDGMENT, DAMAGE, LOSS, RIGHT, REMEDY, CAUSE OF ACTION, CHARGE,
COST, DEBT, INDEBTEDNESS, OR LIABILITY WHICH AROSE OR ACCRUED
DURING SUCH PERIOD OR WAS OR COULD HAVE BEEN ASSERTED AGAINST ANY
OF THE INSIDER RELEASED PARTIES, EXCEPT AS OTHERWISE PROVIDED IN
THE PLAN OR IN THE CONFIRMATION ORDER. EACH OF THE INSIDER
RELEASED PARTIES SHALL HAVE THE RIGHT TO INDEPENDENTLY SEEK
ENFORCEMENT OF THIS RELEASE PROVISION. THIS RELEASE PROVISION IS
AN INTEGRAL PART OF THE PLAN AND IS ESSENTIAL TO ITS IMPLEMENTATION.
NOTHING IN THE FOREGOING SHALL RESULT IN ANY CURRENT DIRECTORS
AND OFFICERS OF THE DEBTOR WAIVING ANY INDEMNIFICATION CLAIMS
AGAINST THE DEBTOR OR ANY OF ITS INSURANCE CARRIERS OR ANY RIGHTS
AS BENEFICIARIES OF ANY INSURANCE POLICIES.

   10.5   Release of Bank

     IN EXCHANGE FOR THE CONSIDERATION BEING PROVIDED UNDER THE
PLAN BY THE BANK, AS OF THE EFFECTIVE DATE THE BANK SHALL BE
UNCONDITIONALLY AND IS HEREBY DEEMED TO BE UNCONDITIONALLY
RELEASED FROM ANY AND ALL CLAIMS, OBLIGATIONS, SUITS, JUDGMENTS,
DAMAGES, LOSSES, RIGHTS, REMEDIES, CAUSES OF ACTION, CHARGES, COSTS,
DEBTS, INDEBTEDNESS, OR LIABILITIES WHATSOEVER, WHETHER KNOWN OR
UNKNOWN, FORESEEN OR UNFORESEEN, EXISTING OR HEREAFTER ARISING,
IN LAW, EQUITY OR OTHERWISE, BASED IN WHOLE OR IN PART UPON ANY ACT
OR OMISSION, TRANSACTION, EVENT OR OTHER OCCURRENCE TAKING
PLACE PRIOR TO THE EFFECTIVE DATE, WHICH IS IN ANY WAY RELATING TO
THE DEBTOR, THE CASE, ANY PROPERTY OF THE DEBTOR, THE BUSINESS OR
OPERATIONS OF THE DEBTOR, ANY PLAN DOCUMENTS, THE PLAN, OR ANY OF
THE TRANSACTIONS CONTEMPLATED THEREBY. THE CONFIRMATION ORDER
SHALL ENJOIN THE PROSECUTION BY ANY PERSON OR ENTITY, WHETHER
DIRECTLY, DERIVATIVELY OR OTHERWISE, OF ANY CLAIM, OBLIGATION, SUIT,
JUDGMENT, DAMAGE, LOSS, RIGHT, REMEDY, CAUSE OF ACTION, CHARGE,
COST, DEBT, INDEBTEDNESS, OR LIABILITY WHICH AROSE OR ACCRUED
DURING SUCH PERIOD OR WAS OR COULD HAVE BEEN ASSERTED AGAINST THE
BANK, EXCEPT AS OTHERWISE PROVIDED IN THE PLAN OR IN THE
CONFIRMATION ORDER.       THE BANK SHALL HAVE THE RIGHT TO
INDEPENDENTLY SEEK ENFORCEMENT OF THIS RELEASE PROVISION. THIS
RELEASE PROVISION IS AN INTEGRAL PART OF THE PLAN AND IS ESSENTIAL
TO ITS IMPLEMENTATION

   10.6   Barton Doctrine

      The “Barton Doctrine,” e.g. Barton v. Barbour, 104 U.S. 126, 26 L.Ed. 672 (1881)
(Supreme Court held that a trustee cannot be sued without leave of the bankruptcy court), which

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prohibits a party from suing either a trustee, the officers of a debtor in possession, or their attorneys,
in a non-appointing court for acts done in their official capacity, shall pertain to the provisions of
Article VII of the Plan, and shall stand as one of the bases for enforcement of those provisions.
See, e.g., Carter v. Rodgers, 220 F.3d 1249, 1252 (11th Cir. 2000)(“ [j]oining the other circuits that
have considered this issue, we hold that a debtor must obtain leave of the bankruptcy court before
initiating an action in district court when that action is against the trustee or other bankruptcy-
court-appointed officer, for acts done in the actor’s official capacity”); Patco Energy Express v.
Lambros, 2009 U.S. App. LEXIS 25771 (11th Cir. 2009) (“[w]here a plaintiff neglects to obtain
leave from the appointing court, a suit filed [against a bankruptcy trustee] in another court must be
dismissed for lack of subject matter jurisdiction”); In the Matter of Linton, 136 F.3d 544, 545 (7th
Cir. 1998); In re DeLorean Motor Co., 991 F.2d 1236, 1240-41 (6th Cir. 1993) (“[i]t is well settled
that leave of the appointing forum must be obtained by any party wishing to institute an action in
a nonappointing forum against a trustee, for acts done in the trustee’s official capacity and within
the trustee’s authority as an officer of the court .... counsel for trustee, court appointed officers who
represent the estate, are the functional equivalent of a trustee”); In re Balboa Improvements, Ltd.,
99 B.R. 966, 970 (9th Cir. BAP 1989) (holding that permission to sue debtor’s attorney for alleged
misconduct in the administration of an estate must be obtained from the bankruptcy court.

    10.7    Continuation of Automatic Stay

         The automatic stay arising out of Section 362(a) of the Bankruptcy Code shall continue in
full force and effect until the Consummation Date, and the Debtor, the Post-Effective Date Debtor,
the Estate, the Liquidating Trustee and the Liquidating Trust shall be entitled to all of the
protections afforded thereby. The Court shall have the power to grant such additional and
supplemental stays as may be necessary or appropriate to protect and preserve the Assets of the
Debtor, the Estate and/or the Liquidating Trust or to permit the just and orderly administration of
the Estate.

    10.8    No Liability for Tax Claims

        Unless a taxing Governmental Authority has asserted a Claim against the Debtor before
the Bar Date, the Initial Administrative Expense Claim Bar Date or the Final Administrative
Expense Claim Bar Date, as applicable, no Claim of such Governmental Authority shall be
Allowed against the Debtor, the Estate, the Liquidating Trust, the Liquidating Trustee, or their
directors, officers, employees or agents for taxes, penalties, interest, additions to tax or other
charges arising out of (i) the failure, if any, of the Debtor, or any other Person or Entity to have
paid tax or to have filed any tax return (including any income tax return or franchise tax return) in
or for any prior year or period, or (ii) an audit of any return for a period before the Petition Date.
The entry of the Confirmation Order shall be deemed to be a determination that no provision of
the Plan has avoidance of taxes as a principal purpose, and the Confirmation Order shall so provide.

    10.9    Regulatory or Enforcement Actions

        Nothing in the Plan shall restrict any federal government regulatory agency from pursuing
any regulatory or police enforcement action or performing its statutory duties against any Person
or Entity in any forum, but only to the extent not prohibited by the automatic stay of Section 362
of the Bankruptcy Code or discharged or enjoined pursuant to Section 524 or 1141(d) of the

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Bankruptcy Code. Nothing contained in this Article X, Section 10.9 is intended to, nor shall it,
supersede or alter any applicable provisions of the Bankruptcy Code.

   10.10 No Liability for Untimely Administrative Expense Claims

       Holders of Administrative Expense Claims (including Holders of any Claims for
Postpetition federal, state or local taxes) that do not file an application or other Bankruptcy Court-
approved pleading by the Initial Administrative Expense Claims Bar Date or the Final
Administrative Expense Claims Bar Date, as applicable, will be forever barred from asserting such
Administrative Expense Claims against the Debtor, its Estate, or any of its Property.

                                      ARTICLE XI
                              FEDERAL TAX CONSIDERATIONS

   11.1    General

        A description of certain U.S. federal income tax consequences of the transactions proposed
in the Plan is provided below. This description is based upon the Internal Revenue Code of 1986,
as amended (the “IRC”), final and temporary Treasury Regulations promulgated thereunder,
judicial decisions and administrative determinations of the Internal Revenue Service (“IRS”) in
effect as of the date of this Disclosure Statement. Changes in these authorities, which may have
retroactive effect, or new interpretations of existing authority may cause the U.S. federal income
tax consequences of the Plan to differ materially from the consequences described below. No
rulings have been requested from the IRS and no legal opinions have been requested from counsel
with respect to any tax consequences of the Plan. No tax opinion is given by this Disclosure
Statement.

        The following discussion summarizes certain U.S. federal income tax consequences of the
Plan to holders of the Allowed Unsecured Claims. This summary does not address the U.S. federal
income tax consequences to holders whose Claims or Equity Interests (i) are paid in full, in cash,
or which are otherwise not Impaired under the Plan (i.e., Allowed Administrative Claims, Priority
Claims, Priority Tax Claims and Secured Claims) or (ii) that are not receiving any distribution
under the Plan.

        This description does not cover all aspects of federal income taxation that may be relevant
to the Debtor or Holders of Claims. For example, the description provided below does not address
issues of special concern to certain types of taxpayers, such as dealers in securities, life insurance
companies, financial institutions, tax exempt organizations, foreign taxpayers, investors in pass-
through entities, broker dealers and tax-exempt organizations. The description also does not
address state, local or foreign tax considerations that may be applicable to the Holders of Claims.

        Further, this description assumes that all Holders of Claims are U.S. persons and does not
address tax consequences to any holders of Claims that are not U.S. persons. For purposes of this
discussion, a U.S. person is any of the following: (i) a citizen or resident of the United States; (ii)
a corporation (or other entity treated as a corporation for U.S. federal income tax purposes) created
or organized under the laws of the United States, any state thereof or the District of Columbia; (iii)
an estate the income of which is subject to U.S. federal income tax regardless of its source; or (iv)

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a trust that (1) is subject to the primary supervision of a U.S. court and the control of one or more
U.S. persons or (2) has validly elected to be treated as a U.S. person for U.S. federal income tax
purposes. If a partnership (or other entity taxed as a partnership for U.S. federal income tax
purposes) is a holder of a Claim, the tax treatment of a partner in the partnership generally will
depend on the status of the partner and upon the activities of the partnership. Accordingly,
partnerships that are holders of Claims are urged to consult their tax advisors regarding the specific
U.S. federal income tax consequences to them.

     NO RULING HAS BEEN SOUGHT OR OBTAINED FROM THE IRS WITH
RESPECT TO ANY OF THE TAX ASPECTS OF THE PLAN AND NO OPINION OF
COUNSEL HAS BEEN OBTAINED BY THE DEBTOR WITH RESPECT THERETO. NO
REPRESENTATION OR ASSURANCE IS BEING MADE WITH RESPECT TO THE
FEDERAL INCOME TAX CONSEQUENCES AS DESCRIBED HEREIN. CERTAIN
TYPES OF CLAIMANTS AND INTEREST HOLDERS MAY BE SUBJECT TO SPECIAL
RULES NOT ADDRESSED IN THIS SUMMARY OF FEDERAL INCOME TAX
CONSEQUENCES. THERE MAY ALSO BE STATE, LOCAL, OR FOREIGN TAX
CONSIDERATIONS APPLICABLE TO EACH HOLDER OF A CLAIM OR EQUITY
INTEREST WHICH ARE NOT ADDRESSED HEREIN. EACH HOLDER OF A CLAIM
OR EQUITY INTEREST AFFECTED BY THE PLAN MUST CONSULT AND RELY
UPON SUCH HOLDER’S OWN TAX ADVISOR REGARDING THE SPECIFIC TAX
CONSEQUENCES OF THE PLAN WITH RESPECT TO SUCH HOLDER’S CLAIM OR
EQUITY INTEREST. THIS INFORMATION MAY NOT BE USED OR QUOTED IN
WHOLE OR IN PART IN CONNECTION WITH THE OFFERING FOR SALE OF
SECURITIES.

      IRS CIRCULAR 230 NOTICE:      TO ENSURE COMPLIANCE WITH
REQUIREMENTS IMPOSED BY THE IRS, WE INFORM YOU THAT ANY U.S.
FEDERAL TAX ADVICE CONTAINED IN THIS COMMUNICATION IS NOT
INTENDED OR WRITTEN TO BE USED, AND CANNOT BE USED, FOR THE
PURPOSE OF (I) AVOIDING PENALTIES UNDER THE INTERNAL REVENUE CODE
OR (II) PROMOTING, MARKETING, OR RECOMMENDING TO ANOTHER PARTY
ANY TRANSACTION OR MATTER ADDRESSED HEREIN.

   11.2    Federal Income Tax Consequences To Holders Of Claims

        Assuming the Liquidating Trust is taxed as a “grantor trust” or as a “partnership” for federal
income tax purposes, under the Plan, a Holder of a Claim generally will recognize taxable gain or
loss to the extent of the difference between the amount realized (i.e., the amount of cash and the
value placed on the other assets deemed contributed) by the Holder to the Liquidating Trust in
respect of its Claim, excluding accrued interest, and the Holder’s tax basis in the Claim, excluding
any claim for accrued interest.

        The tax character of a Holder’s gain or loss as capital or ordinary will be determined by a
number of factors, including whether the claimant has a special tax status (such as being a dealer
in securities, a financial institution, or an insurance company), or whether the Claim was a capital
asset in the hands of the Holder. In addition, whether the Claim was purchased with original issue
discount or market discount could affect the character of any gain or loss that is recognized as

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capital or ordinary gain or loss. Likewise, the basis of such Claim for purposes of determining the
amount of any gain or loss recognized on the exchange can be affected by such factors as whether
such obligation was purchased with original issue discount, and whether and to what extent the
Holder has previously claimed a bad debt deduction with respect to such Claim.

       As discussed below, assuming the Liquidating Trust is taxed as a “grantor trust” or as a
“partnership” for federal income tax purposes, in the future, each Holder of a Claim will be
required to report such Holder’s share of the income of the Liquidating Trust.

    11.3    Tax Treatment of Liquidating Trust and Contribution of Assets

        The Liquidating Trust is intended to be treated as a “liquidating trust” pursuant to Treasury
Regulation § 301.7701-4(d) and as a “grantor trust” for federal income tax purposes, pursuant to
Section 671 through 679 of the Internal Revenue Code of 1986, as amended (the “IR Code”).
However, no ruling has been sought from the IRS that the Liquidating Trust will meet the standard
for classification as a “liquidating trust” and no assurance can be given that the IRS will not
disagree with this conclusion that the Liquidating Trust is taxable as a grantor trust for federal
income tax purposes. Assuming the Liquidating Trust is recognized as a grantor trust for federal
income tax purposes, the claimants of the Debtor that are beneficiaries of the Liquidating Trust
will be treated as the “grantors” of the Liquidating Trust, and the Liquidating Trust will be
disregarded for tax purposes as an entity separate from the “grantors.” The grantors will report
the income and loss from the Liquidating Trust as if they held their proportionate interest in the
assets of the Liquidating Trust, and received the income and paid expenses of the Liquidating
Trust, directly (instead of through the Liquidating Trust). Assuming the Liquidating Trust is a
grantor trust, the Liquidating Trust will file annual information returns (a Form 1041, with attached
informational statements) with the IRS reporting each “grantor’s” respective share of income
received and expense paid by the Liquidating Trust.

        Accordingly, assuming the Liquidating Trust is recognized as a grantor trust for U.S.
federal income tax purposes, the transfer of Cash and any remaining assets of the Debtor to the
Liquidating Trust will be treated for U.S. federal income tax purposes as if the Debtor distributed
an interest in each of the Assets transferred directly to the Holders of Claims in exchange for their
outstanding Claims against or stock of the Debtor. Each claimant would then be deemed to
contribute its interest in these Assets to the Liquidating Trust. No gain or loss is recognized by a
Holder of a Claim on the “deemed” contribution of the interest in these Assets to the Liquidating
Trust and the basis in its interest in the Liquidating Trust will equal the aggregate basis in the assets
contributed in the Liquidating Trust after taking into account any gain or loss recognized by a
Holder of a Claim on the receipt of the interests in these Assets of the Debtor (as discussed above).

        If the Liquidating Trust is not treated as a grantor trust for federal income tax purposes,
then the Liquidating Trust likely will be classified as a “partnership” for federal income tax
purposes (so long as the Liquidating Trust does not make an election to be taxed as a corporation
for federal income tax purposes), in which case the creditors of the Debtor that are Beneficiaries
of the Liquidating Trust will be treated as “partners” of the “partnership” for federal income tax
purposes. Unlike a grantor trust, the “partnership” would be treated as an entity required to
compute income and loss, file tax returns, and make tax elections, but income and loss would pass
through to the Beneficiaries of the Liquidating Trust (who are considered “partners” of the

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“partnership” for federal income tax purposes) to be reported by them on their separate income tax
returns. If the Liquidating Trust is treated as a “partnership” for U.S. federal income tax purposes,
the Beneficiaries of the Liquidating Trust will be treated for U.S. federal income tax purposes as
if the Debtor had distributed the interests in each of the assets so transferred directly to the Holders
of Claims in exchange for their outstanding Claims against or stock of the Debtor and the Holders
then contributed the interests in these assets to a “partnership” for federal income tax purposes in
exchange for an interest in the “partnership.” No gain or loss is recognized upon the deemed
exchange of the interests in these Assets for an interest as a “partner” in the “partnership.” Each
Holder’s basis in its interest in the “partnership” will equal the aggregate basis in the assets deemed
contributed to the “partnership” after taking into account any gain or loss recognized by a claimant
or shareholder on the receipt of the interests in these assets from the Debtor (as discussed above).
The partners of the partnership will be required to report their share of income, gain, loss,
deduction or credit allocated to them by the partnership. Assuming the Liquidating Trust is a
partnership, the Liquidating Trust will file annual returns (a Form 1065, with attached Schedule
K-1s for each partner) with the IRS, and issue to each partner a K-1 reporting each “partner’s”
respective share of income, gain, loss deduction or other item of the Liquidating Trust.

   11.4    Accrued Interest

        To the extent that any amount received by a Holder of a Claim is attributable to accrued
but untaxed interest, such amount should be taxable to the Holder as interest income, if such
accrued interest has not been previously included in the Holder’s gross income for U.S. federal
income tax purposes. Conversely, a claimant may be able to recognize a deducible loss for such
purposes to the extent that any accrued interest was previously included in the claimant’s income,
but was not paid in full by the Debtor. The extent to which any consideration received by a Holder
under the Plan will be attributable but untaxed interest is unclear. The Debtor will treat the
aggregate consideration to be distributed to the claimants as first satisfying the stated principal
amount of the Claims with any excess allocated to accrued, but unpaid interest, if any. Certain
legislative history indicates that an allocation of consideration as between principal and interest
provided in a bankruptcy plan is binding for U.S. federal income tax purposes. However, the IRS
could take a different view.

   11.5    Backup Withholding

        Under the IRC’s backup withholding rules, a Holder of a Claim should be subject to
back-up withholding with respect to distributions or payments made pursuant to the Plan unless
that Holder (a) comes within certain exempt categories (which generally include corporations) and,
when required, demonstrates that fact or (b) provides a correct taxpayer identification number and
certifies under penalty of perjury that the taxpayer identification number is correct and that the
Holder is not subject to backup withholding because of a failure to report all dividend and interest
income. Backup withholding is not an additional income tax, but merely an advance payment of
income tax that may be claimed as a credit on the income tax return of the person that is subject to
backup withholding and refunded to the extent it results in an overpayment of income tax on such
return. Holders of Claims may be required to establish exemption from backup withholding or to
make arrangements with respect to the payment of backup withholding.



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   11.6    Not Intended As Tax Advice

      THE FOREGOING DISCUSSION IS NOT INTENDED AS TAX ADVICE TO THE
DEBTOR’S CREDITORS AND EQUITY HOLDERS REGARDING THE FEDERAL
INCOME TAX CONSEQUENCES TO THEM UNDER THE PLAN. THE FOREGOING
IS INTENDED TO BE A SUMMARY ONLY. IT IS NOT A SUBSTITUTE FOR CAREFUL
TAX PLANNING OR CONSULTATION WITH A TAX ADVISOR. THE FEDERAL,
STATE, LOCAL, AND FOREIGN TAX CONSEQUENCES OF THE PLAN ARE
COMPLEX AND, IN SOME CASES, UNCERTAIN. SUCH CONSEQUENCES MAY
ALSO VARY BASED UPON THE INDIVIDUAL CIRCUMSTANCES OF EACH
HOLDER OF A CLAIM OR INTEREST. ACCORDINGLY, EACH HOLDER OF A
CLAIM OR INTEREST IS STRONGLY URGED TO CONSULT SUCH HOLDER’S OWN
TAX ADVISOR REGARDING THE FEDERAL, STATE, LOCAL, AND FOREIGN TAX
CONSEQUENCES OF THE PLAN.

                                      ARTICLE XII
                                 LIQUIDATION ANALYSIS

        The Debtor as Plan Proponent has analyzed whether a liquidation of its remaining assets
by a Chapter 7 Trustee, who is unfamiliar with the Debtor and its Assets, would result in a higher
return to the Creditors of the Estate than under the proposed Plan. The Plan proposes a liquidation
of the Debtor’s remaining Assets by persons, including Professionals, that are already familiar
with them. More importantly, the Plan incorporates a number of heavily negotiated settlements
which are favorable to the Debtor’s Estate and Creditors, including: (a) the WARN Act Class
Settlement, (b) settlement of potential Estate claims against the Bank which are the subject of the
Committee Standing Motion, and (c) settlement of potential objections to Insider Claims filed
and/or scheduled in excess of $91,000,000.

       The WARN Act Class Settlement resolves a potential $4.7 million priority wage claim
under 11 U.S.C. § 507(a)(4) asserted in the WARN Act Class Action and the WARN Act POC by
allowance and payment of the priority WARN Claim in the amount of $887,500, payment of the
WARN Net Recovery from Excluded Assets, and allowance of the WARN GUC, in the amount
of $1,112,500, as an Unsecured Claim under Class 5.

       The settlement under the Plan of the potential claims held by the Estate against the Bank
which are the subject of the Committee’s Standing Motion will result in no less than $4,821,000
of proceeds of the Bank’s collateral being made available under the Plan to fund Confirmation
Expenses (up to $3,208,500) and the GUC Amount ($1,612,500). Additionally, the Excluded
Assets will be transferred to the Liquidating Trust for the benefit of holders of Liquidating Trust
Claim. As part of the settlement with the Bank reflected in the Plan, the Bank is agreeing not to
take any distribution from the Liquidating Trust Assets and is also waiving any diminution claims.

        Finally, under the Plan it is anticipated that Insiders which have scheduled and/or filed
Unsecured Claims in excess of $125,000,000 will agree to the disallowance of those Claims in
exchange for the releases and injunctive relief being provided for the Insider Released Parties.
Insofar as projected total Unsecured Claims under the Plan ranges from approximately $23 million


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to $34 million, these Insider Claims, together with the Bank’s potential diminution and deficiency
Claims if allowed, would substantially reduce any return to Unsecured Creditors in the Case.

        The settlements described above are contingent on Confirmation of the Plan. If the Plan is
not confirmed, it is highly doubtful that similar net benefits for the Estate would be obtained
through litigation of causes of action and objections to Claims which are being resolved under
these settlements. Accordingly, the Debtor has concluded that a Chapter 7 liquidation would likely
result in a net return to creditors that is lower than the net return to Creditors that can realistically
be realized through the Plan, and, in all likelihood, there would be little or no amounts available
for distribution to the holders of Unsecured Claims in Chapter 7. Also, in the event the Debtor is
forced to complete its liquidation in Chapter 7, the resulting disruption and uncertainty would
almost certainly diminish the value of the Debtor’s remaining assets, as the layer of expense
occasioned by the appointment of a Chapter 7 Trustee would be more than what is estimated by
the Liquidating Trustee under the Plan continuing to retain the Professionals and consultants, who
are already familiar with the Claims and other issues facing the Debtor and its Estate.
Consequently, for all the foregoing reasons it is believed that the Plan will provide a greater,
quicker and more certain return to Creditors than would liquidation of the Debtor’s Assets by a
Chapter 7 Trustee who is unfamiliar with the Debtor and its assets.

                                    ARTICLE XIII
                           MISCELLANEOUS PLAN PROVISIONS

    13.1    No Admissions

        The Plan provides for the resolution, settlement and compromise of Claims against and
Equity Interests in the Debtor. Nothing contained in the Plan or in the Disclosure Statement will
be construed to be an admission of any fact or otherwise binding upon the Debtor in any manner
prior to the Effective Date.

    13.2    Revocation or Withdrawal of the Plan

        The Plan Proponent reserve the right to revoke or withdraw the Plan prior to the
Confirmation Date. If the Plan Proponent revokes or withdraws the Plan, or if Confirmation of
the Plan does not occur, then the Plan will be deemed null and void in all respects, and nothing
contained in the Plan will be deemed (a) to constitute a waiver or release of any Claims by or
against, or Equity Interests in, the Debtor or any other Person, (b) to constitute a waiver or release
of any Claims by the Committee, or (c) to prejudice in any manner the rights of the Debtor or any
other Person, including the Committee, in any further proceedings involving the Debtor.

    13.3    Further Actions

         Pursuant to Bankruptcy Code Section 1142(b), the Confirmation Order shall act and
operate as an order of the Court directing the Debtor, the Liquidating Trustee and/or any other
necessary parties to execute and deliver or join in the execution and delivery of any instrument
required to affect any transfer and to perform any other act, including the satisfaction of any lien,
that is necessary for the consummation of this Plan. Any transfer taxes arising from transfers of


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property ordered or made pursuant to this Plan shall be treated in accordance with Section 1146 of
the Bankruptcy Code.

    13.4    Headings

        Headings are utilized in the Plan for the convenience of reference only, and shall not
constitute a part of the Plan for any other purpose.

    13.5    Designated Notice Sufficient

        Notwithstanding any other provision of the Plan, when notice and a hearing is required
with regard to any action to be taken by the Debtor, the Bank or the Liquidating Trustee,
Designated Notice shall be sufficient. With respect to any proposed action to be taken as
authorized under the Plan which may only be taken following Designated Notice, the following
procedures shall apply. After Designated Notice of the proposed action has been provided as
required under the Plan, if any party in interest files with the Court within ten (10) days of the
service of such Designated Notice a written objection to the proposed action, and serves a copy of
said objection upon the Debtor, the Bank and the Liquidating Trustee and their counsel, then the
Court shall schedule a hearing with respect to such objection and, unless the objection is withdrawn
by agreement of the parties, the proposed action may only be taken if approved by Final Order of
the Court. If no objection is timely filed and served, the proposed action may be taken without
further authorization or approval by the Court.

    13.6    Governing Law

        Except to the extent that federal law (including the Bankruptcy Code or the Bankruptcy
Rules) is applicable, or to the extent that the Plan or a provision of any contract, instrument, release,
indenture, or other agreement or document entered into in connection with the Plan provides
otherwise, the rights and obligations arising under the Plan will be governed by, construed, and
enforced in accordance with the laws of the State of Georgia, without giving effect to the principles
of conflicts of law thereof.

    13.7    Closing of Case/ Charitable Contribution

        The Liquidating Trustee shall be authorized to apply to the Bankruptcy Court for authority
to close the Case at any time when the Plan has been substantially consummated or as otherwise
appropriate. If, after all Causes of Action have been resolved and Liquidating Trust Assets
liquidated or otherwise administered and the proceeds thereof distributed in accordance with the
Plan, including by Distributions, the Liquidating Trustee determines that the expense of
administering the Plan is likely to exceed the remaining amount of the Liquidation Proceeds, the
Liquidating Trustee shall apply to the Bankruptcy Court for authority to (i) reserve any amounts
necessary to close the Bankruptcy Case; (ii) donate any balance to a charitable organization
selected by the Liquidating Trustee and which is exempt from federal income tax under Section
501(c)(3) of the Internal Revenue Code; and (iii) close the Bankruptcy Case in accordance with
the Bankruptcy Code, the Bankruptcy Rules and the Local Rules. These provisions shall apply
without regard to any applicable non-bankruptcy laws with respect to unclaimed property. Any
Creditor, the Liquidating Trustee or the Debtor may petition to reopen the Case at any time within
the seven (7) year period immediately following the Effective Date of the Plan for the purpose of
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having the Bankruptcy Court interpret any provision of the Plan or enforce the rights of any party
under the Plan or under the Bankruptcy Code.

                                    ARTICLE XIV
                              RETENTION OF JURISDICTION
       The Bankruptcy Court shall retain jurisdiction, notwithstanding entry of the Confirmation
Order and notwithstanding the occurrence of the Effective Date of the Plan, for the following
purposes:

       (a)     to enforce all causes of action which exist on behalf of the Debtor pursuant to the
provisions of this Plan or applicable law;

       (b)     to enter orders and injunctions and restraints to enforce the provisions of the Plan;

       (c)    to determine claims asserted under Section 507(a)(2) of the Bankruptcy Code,
including claims for compensation and reimbursement of expenses accruing prior to the
Confirmation Date;

       (d)    to determine any Disputed Claims or disputes concerning the validity of or the
market value of any collateral underlying any Secured Claim;

       (e)    to enter orders regarding interpretation of the Plan, or any document created in
connection with the Plan, or any disputes with respect thereto;

       (f)    to conduct hearings and to enter orders modifying the Plan as provided herein or in
the Bankruptcy Code;

         (g)    to determine any and all applications, claims, adversary proceedings, and contested
or litigated matters pending on the Confirmation Date;

        (h)     to determine any applications for rejection or assumption of executory contracts or
leases, and to determine Claims resulting from rejection of executory contracts and leases;

       (i)     to allow or disallow, and estimate, liquidate, or determine any Claims against the
Debtor arising on or before the Effective Date, including tax claims, but excluding any Claims
deemed Allowed by this Plan, and to enter or enforce any order requiring the filing of any such
Claim before a particular date; and

        (j)    to enter orders required for the administration of the Plan, including, but not
limited to:

                  (i)     resolution of disputes pertaining to the amounts of payments under the
                          Plan to Claimants;

                  (ii)    conducting post-confirmation valuation hearings as required by the
                          Plan or authorized by the Bankruptcy Code; and



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                  (iii)    exercising jurisdiction over any other matter provided for or consistent
                           with the provisions of Chapter 11 of the Bankruptcy Code.

                                    ARTICLE XV
                           MODIFICATIONS AND AMENDMENTS
        The Debtor reserves the right, pursuant to Section 1127(a) of the Bankruptcy Code, to
amend or modify the Plan prior to the Confirmation of the Plan; provided, however, that no
material amendment or modification to the Plan shall be made without the consent of the Bank
and the Committee; and provided further, that no amendment or modification to the Liquidating
Trust Agreement shall be made without the written consent of the Committee. The Plan may be
modified, without notice or hearing, or on such notice and hearing as the Court deems appropriate,
if the Court finds that the proposed modification does not materially and adversely affect the rights
of any parties in interest which have not had notice and an opportunity to be heard with regard to
the proposed modification. Without limiting the foregoing, the Plan otherwise may be modified
after notice and hearing. In the event of modification at or before Confirmation, any votes in favor
of the Plan shall be deemed to be votes in favor of the Plan as modified, unless the Court finds that
the proposed modification materially and adversely affects the rights of the parties in interest that
cast such votes. After Confirmation of the Plan, the Debtor and/or the Liquidating Trustee, as
applicable, reserve the right to modify the Plan as allowed by Section 1127(b) of the Bankruptcy
Code, and applicable law.

                                          ARTICLE XVI
                                          CONCLUSION
        The Debtor and the Committee urge all Holders of Claims to accept the Plan because the
Debtor and the Committee believe the Plan will provide each such Holder more than it would
receive pursuant to any alternative plan of liquidation or under Chapter 7 of the Bankruptcy Code.
Accordingly, the Debtor and the Committee urge all eligible members of Voting Classes to submit
Ballots in favor of the Plan in accordance with the balloting procedures described herein.




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This 10th day of September, 2020.


                                       P-D VALMIERA GLASS USA, CORP.



                                       By: /s/ Joeran Pfuhl
                                       Its: Chief Executive Officer




                                       By: /s/ Benjamin Deubel
                                       Its: Chief Financial Officer


 SCROGGINS & WILLIAMSON, P.C.


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 Counsel for the Debtor




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                                   Exhibit 1




                               Plan of Liquidation
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                               CERTIFICATE OF SERVICE

       This is to certify that I have this day served a true and correct copy of the attached

DISCLOSURE STATEMENT TO ACCOMPANY PLAN OF LIQUIDATION by causing it to be deposited

in the United States Mail in a properly addressed envelope with adequate postage affixed thereon

to the following:


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 This 10th day of September, 2020.
                                                 Respectfully submitted,

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